Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 1 of 70 Page ID #:6




                        EXHIBIT A
            Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 2 of 70 Page ID #:7
                                                                                                                                                             POS-010
r"    ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                     FOR COURT USE ONLY
~          Patricia Rodriguez, Esq (SBN 270639)
           Rodriguez Law Group, Inc.
          .1961 Huntington Drive, Suite 201
           Alhambra, CA 91801
             TELEPHONE NO.: (626) 888-5206            FAX NO. (Optional): (626) 282-0522
      E-MAIL ADDRESS (Optional): prod@attorIIeyprofl.cOn1
        ATTORNEY FOR (Name): Plalritlff Diane Welrlshellller
                                    , OUNTY OF
      SUPERIOR COURT OF CALIFORNIA}.C                                     Orange
              STREETADDRESS: ;' 700 C1v1C l.enter Dlve Wesf
              MAILINGADDRESS:         same as aVOve
             CITY AND 21P CODE:       Santa Ana,            CA 92701
                   BRANCH NAME:       Central Justice Center

             PLAINTIFF/PETITIONER: Diane Weinsheimer                                                              CASE NUMBER:
                                                                                                                  30-2016-00846567-CU-OR-CJC
     DEFENDANT/RESPONDENT: IVITC Firiaricial Iric.                          et al.
                      '                                                                                           Ref. No. or File No.:                                .
                                        PROOF OF SERVICE OF SUMMONS '


                                                        (Separate proof of service is required for each party served.)
     1. - At the time of service l was at least 18 years of age and not a party to this action.
     2. I served copies of.
                ✓
             a. ~ surrimons
             b• 0 complaint
             c.     [] Altemative~Dispute Resolution (ADR) package
             d.     0.Civil Case Cover Sheet (served in complex cases only)
             e.              cross-complaint
                ✓ other (specify documents): Civil Case Cover Sheet
             f. 0
     3.      a. Party served (specify name of party as shown on documents served):
                   SHELLPOINT 1VIORTGAGE SERVICING

                ,( Person (other than the parry in item 3a) served on behalf of an entity or as an authorized agent (and not a person
             b. F7
                      under item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
                          CSC Lawyers Inc: Service - Agent for Service of Process for SHELLPOINT PARTNERS LLC
     4.      Address where the party was served:
             2710 Gateway Oaks Drive, Sacramento, CA 95833
     5.      1 served the party (check proper box)
             a. 0 by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                        receive service of process for the party (1) on (date):                  (2) at (time):
            . b.             by substituted service. On (date):                     at (time):            I left the documents listed in item 2 with or
                             in the presence of (name and title or relationship to person indicated in item 3):


                             (1) ~(business) a person at least 18 years of age apparently in charge at the office or usual place of business
                                       of the person to be served. I informed him or her of the general nature of the papers.

                             (2)            (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                            place of abode of the party. I informed him or her of the general nature of the papers.
                             (3)            (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                            address of the person to be served, other than a United States Postal Service post office box. I informed
                                            him or her of the general nature of the papers. '
                             (4)            1 thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
                                            at the place where the copies were left (Code Civ. Proc., § 415.20). 1 mailed the documents on
                                            (date):              from (city):                            or = a declaration of mailing is attached.
                             (5)            1 attach a declaration of diligence stating actions taken first to attempt personal service.
                                                                                                                                                                  Page 1 of 2
          Fonn Adopted for Mandatory Use     .                                                                                               Code of Civil Procedure, § 417.10
            Judicial Council of Califomia                               PROOF OF SERVICE OF SUMMONS
          POS-010 [Rev. January 1, 2007]



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..          _    ''~                         "L':»Z-;x= '    aa   _,       .            -. .   •   ....   ..r
                    Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 3 of 70 Page ID #:8
    i
                        PLAINT[FFiPETiTiONER: Diane Weinsheimer                                                   cASE NUMaER:
    1
                                                                                                                   30-2016-00846567-CU-OR-CJC
                DEFENDANT/RESPONDENT: MTC Firiaricial Iric. et al.


               5.       C. ✓0      by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the _
                                   address showri in item 4, by first-class mail, postage prepaid,
                                   (1) on (date): 04/27/16                                    (2) from (city): Alhambra
                                       ✓ with two copies of the Notice and Acknowledgment of Receipt and a postage-paid retum envelope addressed
                                   (3) 0
                                         to me. (Attach comp/eted Notice and~Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                                   (4)    to an address outside California with, return receipt requested. (Code Civ. Proc., § 415.40.)

                        d. 0 by other means (specify means of service and authorizing code section):



                           0 Additional page describing service is attached.

              6. The "Notice to the Person Served" (on the summons) was completed as follows:
                   a. 0 as an individual defendant.
                        b•      as the persori sued under the fictitious name of (specify):
                        C. 0 as occupant.
                        d• ✓0 On behalf of (specify): SHELLPOINT MORTGAGE SERVICING
                                    under the following Code of Civil Procedure section:
                                  0 416.10 (corporation)                         415.95 (business organization, form unknown)
                                  ~ 416.20 (defunct corporation)                 416.60 (minor)
                                  0 416.30 (joint stock company/association) 0 416.70 (ward or conservatee)
                                  ~ 416.40 (association or partnership)      0 416.90 (authorized person)
                                  0 416.50 (public entity)                   0 415.46 (occupant)
                                                                             ~ other.
               7. Person who served papers
                        a. Name: Nick Stahl                                                                                     -
                        b. Address: 1961 Huntington Drive, 201, Alhambra, CA 91801
                        C. Telephone number: (626) 888-5206
                        d. The fee for service was: $ 0.00
                        e. I am:
                            (1)       not a registered Califomia process server.
                            (2) 0 exempt from registration under Business and Professions Code section 22350(b).
                            (3) 0 a registered Califomia process server.
                                      (i) 0 owner = employee                     independent contractor.
                                      (ii) Registration No.:
                                      (iii) County:

                  ✓
               8• 0 1 declare under penalty of perjury under the laws of the State of Califomia that the foregoing is true and correct.

                              or
               9.             1 am a California sheriff or marshal and I certify that the foregoing is true and correct.

               Date: April 27, 2016

               Nick Stahl                                                                     /
                          (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                                            (SIGNATURE )




               POS-010 [Rev. January 1, 2007]                 -                                                                                   Page2of2
                                                                   PROOF OF SERVICE OF SUMMONS '




.. :.tig"..::..x :...          .". . ..~. --             _.
           Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 4 of 70 Page ID #:9

                                                                                                                                                             POS-015
         ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and addn:ss):                                                          FOR COURT USE ONLY

       _Patricia Rodriguez Esq. SBN 270639
         Rodriguez Law Group, Inc.
         1961 W. Huntington Drive Suite 201
         Alhambra, California 91801
                TELEPHONE NO.: '(626) 888-5206                            FAX N0. (Optionat): (626) 282_0522
          E-MAIL ADDRESS (Optionat): prod@attomeyprod.com
             ATTORNEY FOR (Name): PlalntlffDlane Welnshelmer

         SUPERIOR COURT OF CALIFORNIA, COUNTY OF Orange
                   STREET ADDRESS: 700, Civic Center Drive West                                                                                                                  n
                   MAILING ADDRESS: same as above
                   CITY. AND ZIP CODE: Santa Ana, CA 92701
                      BRANCH NAME: CentI.al JUstice Center


              PL'.AINTIFF/PETITIONER: Diane Weinsheimer

          DEFENDANT/RESPONDENT: MTC Financial Inc. et al.
                                                                                                                                CASE NUMBER:
                             NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                                         30-2016-00846567-CU-OR-CJC


       TO (insett name of party being served): Shellpoint Mortgage Servicing


                                                                                         NOTICE
           The summons and other documents identified below are being served pursuant to section 415.30 of the Califomia Code of Eivil
           Procedure. Your failure to complete this form and retum it within 20 days from the date of mailing shown belovir may subject you
           (or the party on whose behalf you are being served) to liability.for the- payment of any expenses incurred in serving a summons
           on you in any other manner permitted by law.
           If you are being served on behalf of a corporation, an unincorporated- association (including a partnership), or other entity, this
           form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
           entity. In all other cases, this fonn must be signed by you personally or by a person authorized by you to acknowledge receipt of
           summons. If you return this.form to the sender, service of a summons is deemed complete on the day you sign the
           acknowledgment of receipt below.

           Date of mailing: 04/27/2016
                                                                                                                        _
          Nick Stahl                                                                                  1
                                           (TYPE OR PRINT NAME)                                            (SIGNATURE OF SENDER—uIUST NOT BE A PARTY IN THIS CASE)


                                                                  ACKNOWLEDGMENT OF RECEIPT
           This acknowledges receipt of (to be completed bysender before mailing):
           1. ~ ✓A copy of the summons and of the complaint
           2. 0✓ Other (specify):
                            Civil Case Cover Sheet



           (To be completed by recipient):

            Date this form is signed:


                                                                                                /
                          (TYPE OR PRINT YOUR NAME AND NAME OF ENTITY, IF ANY,                           (SIGNATURE OF PERSON ACKNOWLEDGING RECEIPT, WITH TITLE IF
                                 ON WHOSE BEHALF THIS FORM IS SIGNED)                                 ACKNOWLEDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTITY)




                                                                                                                                                                   Page 1 of 1
       FormAtloptedfocMandatoryUse                                                                                                                      CodeofCivilProcetlure,
         Judidal Council of Cal'rfomia        •       NOTICEANDACKNOWLEDGMENTOFRECEIPT —CIVIL                                                               §§ 415.30, 417.10        '
       POS-015 [Rev. January 1, 2005)                                                                                                                     www.courtinfo.ca.gov




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               ~            . -
                   Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 5 of 70 Page ID #:10

                                                                                                                                                                              I IiIZLFITiF~
              ATTORNEY OR PARTY VNTHOUT ATTORNEY (Name, State Bar number, and addn:ss):                                                                    FOR COURT USE ONLY
           _Patricia Rodriguez Esq. SBN 270639
             Rodriguez Law Group, Inc.
             1961 W. Huntington Drive Suite 201
             Alhambra, California 91801
                    TELEPHONE NO.:'(626) 888-5206                                          FAX N0. (Optional): (626) 282-0522 .
                   E-MAIL ADDRESS (Optional):
                                                     prod@attomeyprod.com
                      ATTORNEY FOR (Name): PlalntlffDlane WelnSheimer

              SUPERIOR COURT OF CALIFORNIA, COUNTY OF Orange
                           STREETADDRESS:']00_Civic Center Drive West
                           MAILING ADDRESS: same as above
                         CITY AND ZIP CODE: Santa Ana, CA 92701
                               BRANCH NAME: CentCal Jllstice Center


                      PLAINTIFF/PETITIONER: Diane Weinsheimer

                   DEFENDANT/RESPONDENT: MTC Financial Inc. et al.
                                                                                                                                               CASE NUMBER:
                                          NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                                           30-2016-00846567-CU-OR-CJC


           TO (insert name of party being served): Shellpoint Mortgage Servicing


                                                                                 NOTICE
                   The summons and other documents identified below are, being served pursuant to section 415.30 of the California Code of Civil
                   Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
                   (or the party on whose behalf you are being served) to liability,for the payment of any expenses incurred in serving a summons
                   on you in any other manner permitted by law.
                   If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
                   form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
                   entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
                   summohs. If you return this form to the sender, service of a summons is deemed complete.on the day you sign the
                   acknowledgment of receipt below.

                   Date of mailing: 04/27/2016

                   Nick Stahl                                                                                         '
                                                             (TYPE OR PRINT NAME)                                          (SIGNATURE OF SENDER—MUST NOT BE A PARTY IN THIS CASE)


                                                                                    ACKNOWLEDGMENT OF RECEIPT
                   This acknowledges receipt of (to be completed bysender before mailing):
                   1. 0 ✓    A copy of the summons and of the complaint
                   2. 0 ✓    Other (specify):
                                  Civil Case Cover Sheet


                   (To be completed by recipient):

                   Date this form is signed:


                                                                                                                ,
                               (TYPE OR PRINT YOUR NAME AND NAME OF ENTITY, IF ANY,                                      (SIGNATURE OF PERSON ACKNOWLEDGING RECEIPT, WITH TITLE IF
                                       ON NMOSE BEHALF THIS FORM IS SIGNED) .                                         ACKNOWLEDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTITY)



                                                                                                                                                                                   Page 1 of 1
           FormAdoPtadfor.Mandatoryu5e                                                                                                                                   CodeofCivilProcetlure,
            Judicial Council of Califomia                        ~       NOTICEANDACKNOWLEDGMENTOFRECEIPT —CIVIL                                                              §§ 415.30, 417.10
           POS-015 [Rev. January 1, 2005]                                                                                                                                  www.courtinfo.ca.gov




           .;...     ,..                      ..                     „                                                                                                    .
       -            -• -          .       .    . •   .                   ^c                                       _           .
, ._ .                     ~          .                  _
                                                             _                -     .. '   _.
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                                                                                                                                                                                .    .~       ,:'~r:_ ..f~,_- -
   Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 6 of 70 Page ID #:11
             ,f




                                        SUMMONS                                                                           FOR COURT USE ONLY
                                                                                                                     (SOLO PARA USO DE LA CORTEj
     ~                            (CITACION JUDICIAL)
                                                                                                              ELEGTRt?NICALLY FILEa
NOTICE TO DEFENDANT:                                                                                           Superior Court of Califomia,
(A VlSO AL DEMANDADO):                                                                                                County of t7range
 MTC FINANCIAL INC DBA TRUSTEE CORPS [Additionai                                                                041512016 at 02:17:32 PM
- Defendants
         Attached]                                                                                              Clerk of the Superior Court
                                                                                                                By TruGmy Xtt, Deputy Clerk
YOU ARE BEING SUED BY PUAtNTIFF:
(LO ESTA DEMANDANDO EL DEMANDAAfTE):
 Diane Weinsheimer, an individual


 NOTICEI You have been sued. The court may decide against you without your being heard unless you respond Mthin 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are senred on you to file a written response at this court and have a copy
 served on the p(aintlff. A letter or phone call will not protect you. Your wririen response must be in proper legal fofrn if you want the court to hear your
 case. There may be a court fonn that you can use for your response. You can find these court forms and more information at the Califomia Courts
 Oniine Self-Help Center (www.courfinfo.ca.gov/setfheip), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver fonn. If you do not file your response on time, you may lose the case by default, and your wages, rnoney, and property
 may be taken without further waming from the court.
    There are other legal requirements. You may want to catl an attomey right away. If you do not know an attomey, you may want to call an attomey
 referrat service. if you cannot afford an attomey, you may be e(igible for free legal services from a nonprofit legaf services program. You can locate
 these nonprofit groups at the Cal'ifomia Legal Services Web site (www.lawhelpcallfomla.org), the Califomia Courts Online Self-Help Cenier
 (www.00un7nfo.ca.govlselfhelp), or by contacfing your local court or county bar assoaation. NOTE: The court has a statutory lien for waived fees and
 costs on any setNement or arbitration award of $10,000 or more in a civil case._The courl's Ben must be paid before the court veiil dismiss the case.
 IAVISO! Lo han demandado. Si no responde dentro de 30 dias, fa corte puede decidir en su contra sin escuchar su versi6n. Lea la informacidn a
 continuaci6n.
    Tiene 30 DfAS DE CALENDARIO despu€s de que le entn:guen esta citacl6n y papeles lega/es para presentar una respuesta por escrita en esta
 corte y hacer que se entregue una copia at demandanfe. Una carta o una lJamada tefef6hica no lo protegen. Su respuesta porescrrto tiene que estar
 en formato legal correcto si desea que procesen su caso en la corfe. Es positrle que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrarestos fomrularios de /a corte ym6s informacP6n en el Centro de Ayuda de las Cortes de Catifomia (www.sucorte.ca.gov), en la
 blblioteca de leyes de su condado o en la wrte que /e quede mds cerca. Sf no puede pagarla cuota de presentaci6n, pida at secretario de la corte .
 que le dd un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso porincumplimiento y ta corte /e
 podrd quitar su sue/do, dinerro y bienes sin m6s advertencia.
   tiay ofros requisttos legales. Es n:comendable que flame a un abogada inmediatamente. Si no conoce a un abogado, puede 1lamar a un servicio de
 remts/6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requlsitos para obtener serviclos legales grratuftos de un
 programa de servicios legales sin frnes de lucro. Puede encontrar estos grupos sin fines de lucro en el sifio web de Calffomia Lega! Services,
 (www.tawhelpcallfomia.org), en el Centro de Ayuda de las Corfes de Califomia, (www.sucorte.ca.gov) o poniendose en contacto con ta corte o el
 co/egio de abogados locales. A VISO: Por ley, fa crorte tiene derecho a reciamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquierrecuperaci6n de $90,000 6 mSs t!e vator recibida mediante un acuerdo o una concesibn de arbitraje en un caso de derecho civil. Trene que
 pagar el gravamen de la corte antes de que !a corte pueda desechar el caso.

The name and address of the court is:                                                                          ENUMBErz
(El nombre y direccibn de fa corte es):                                                                     3p-2016-00846567-CU-OR-CJC
 Central Justice Center - 700 Civic Center Drive West
 Santa Ana, CA 92701                                                                                          Judge Sheila Fell
The name, address, and telephone number of plaintiffs attomey, or plaintiff without an attomey, is:
(E/ nombre, la direcci6n y el nGmero de tef6fono def abogado del demandante, o del demandante que no tiene abogado, es):
 Patricia Rodriguez, 1961 W H.untington Drive, Suite 201, Alhambra, CA 91801 (626) 888-5206

DATE: 04,{1512016                 ALAN C1xRLSON, Clerk of the Court             Clerk, by                              ~t                                 Deputy
(Fecha)                                                                        (Secretario)                           / '                                (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (fomt POS-090).)
(Para prueba de entrega de esta citati6n use el fomwlario Proof of Service of Summons, (POS-010)).                            Truomy \+ll
                                      NOTfCE TO THE PERSON SERVED: You are served
                                      1. 0 as an individual defendant
                                      2.       as the person sued under the fictitious name of (specify):


                                      3.         on behalf of (specify):

                                           under. 0 CCP 416.10 (corporation)               0 CCP 416.60 (minor)
                                                 [~ CCP 416.20 (defunct corporation)       0 CCP 416.70 (conservatee)
                                                 ~ CCP 416.40 (association or partnership)      CCP 416.90 (authorized person)
                                                [~ other (specify):
                                      4. 0 by personal delivery on (date):
 FormAdopiedforN~andatoryUse                                            S~MMONS                                                   Code of Civt1 Procedure §§ 412.20, 465
  Judicia! Counci! of Catitomia                                    ~                                                                               www.coUriiMo.cB.gov
  SUIJ i00 [P.ev. July 1, 2009)
           Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 7 of 70 Page ID #:12

                                                                                                                            SUM-200(A)
                                                                                                    casE NeJ"°eEa:
           SHORT TITLE;
            Wei.nslieimer v, MTC Financial Inc dba Trustee Corps

                                                                 INSTRUCTlOBIS FOR USE
         ♦This form may be used as an attachment to any summons if space does not permit the listing of alt parties on the summons.
         -♦ If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parbes
      -- — Attachment-form-is-attached." -- -- ---------- -- --- — — ---- -------- -- --

           List additiona! parties (Check only one box. Use a separate page for each type of parfy.):
             ❑       Plaintiff       ❑✓ Defendant   ❑ Cross-Complainant _ ❑ Cross-Defendant
           MORTGAGE ELECTRONIC REGISTRATION SYSTEMS INC; SHELLPOINT MORTGAGE
           SERVICING; THE BANK OF NEW YORK MELLON AS THE TRUSTEE FOR THE CHL MORTGAGE
           PASS THROUGH TRUST 2005-HYB5, MORTGAGE PASS THROUGH CERTIFICATES, SERIES 2005
           HYB5; AND DOES I THROUGH 20, INCLUSIVE,




                                                                                                                     Page   1 of 1
                                                                                                                                      Paae 1 of
"        FormAdoptaatorMandatoryUse
           Judiciai Coundl of Caliiorrda            ADDiTlONAL PARTIES ATTACIIMEP[T
    - , SUM-20D(q) iRev. Ja:wary 1.20071                  Attachment to Summons
                     Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 8 of 70 Page ID #:13
                                                                                                                                                                                                                                     r-1wni n
                  ATTORNEY OR PARTY wITHOUT ATTORNEY                     ame, Stafe Barnumber, arrd arldress):                                                                                 FOR COURT USE ONtY
                    Patricia Rodriguez Esq. SBN 2~/0639
                    RODRIGUE2 LAW GROUP 1NC.                                                                                                                             ELECTRON1Cl4LLY FILEa
                    1961 W. Huntington Drive Suite 201                                                                                                                    Superior Caurt af Califomia,
                    Alhambra, Califar! nia, 91861                                                                                                                             Caunt+~ af Orange
                                         y 626)
                           TELEPHONENO.: 1               888-5206                       L      FAXNO.: (626) 282-0522
               ATTORNEYFORIName): ij)alntiffDlane Weinstleliner                                                                                                              04M52016 at 02:17:32 Pltl1
              SUPERIOR COURT OF CALIFORNIA, COuNTY oF Orange                                                                                                                  Clerk of the Superior Court
                       STREETADDRESs: 700 Clvic Center Drlve We$t                                                                                                            By Trucmy Vj,Deputy Glerk
                       MAILING ADDRESS: Sanle
                       CI T Y AND ZIP CODE: Santa Ana, CA 92701
                      .    BRANCH NAME: Central Justice Center                                                                                                                                 .
                   CASE NAME:
                   Weinsheimer v. MTC Financial Inc dba Trustee Corps et. aj.
                                                                                                                                                                   CASE NUMBER:
                       CIVIL CASE COVER SHEET                                                       Complex Case Designation
              71 Unlimited                          E:] Limited                                                                                                         30-2010-00846567-CU-0R-CJC
                                                                                              0 Counter            C] Joinder
                  (Amount                                (Amount                                                                                                   JUDGE'
                  demanded                               demanded is                          Filed with first appearance by defendant                                                           Judge Sheila Fell
                           exceeds $25,000)                   $25,000 or less)                      (Cal. Rules of Court, rule 3.402)                                   DEPT:

                                                                    ltems 7-6 below must be completeo (see insrrucrions on page [).
              1. Check one box below for the case type that best describes this case:
                  Auto Tort                                  Contract                                                                                  Provislonaliy Complex Ctvll Litigation
                 F-1 Auto (22)                               F-1 Breach of contract/warranty (06)                                                      (Cai. Rules of Court, rules 3.400-3.403)
                     E-1 Uninsured motorist (46)                                             F-1 Rufe 3.740 collections (09)                           [~] Antitfust/Trade regutation (03)
                     Other PUPDlVUD (Personal InjurylProperty                                F 1 Other collections (09)                                F-1 Construction defect (10)
                     DamagelWrongful Death) Tort                                             Q Insurance coverage (18)                                 0 Mass tort (40)
                     0 Asbestos (04)                                                         Q Other contract (37)                                         0 Securities litigation (28)
                     [:~] Product liability (24)                                             Real Property                                                 0 EnvironmentaUToxic tort (30)
                     0 Medical malpractice (45)                                              Q Eminent domain/lnverse                                      Q Insurance coverage ciaims arising from the
                     ED Other P1/PD/vUD (23)                          condemnation (14)                                                                            above listed provisionaily complex case
                                                                Q Wrongful eviction (33) .                                                                         types (41)
                     Non-PUPDMfD (Otherj Tort
                                                                                                                                                           Enforcementof Judgment
                     0 Business tortlunfair business practice (07) ~Other real property (26)
                     0 Civil «ghts (08)                                                      Untawfui Detainer                                             = Enforoement of judgment (20)
                     0 Defamation (13)                                                            Commercial (31)                                          Miscetlaneous Civit Complaint
                     0 Fraud (16)                                                                    Residential (32)                                          R1C0 (27)
                     ~ tntellectual property (19)                                                    Drugs (38)                                            Q Other comptaint (not speciFed above) (42)
                     0 Professional negligence (25)                                          Judicial Revlew                                               Misceltaneous Civil Petltion
                     0 Other non-PI/PDM/D tort (35)                                          ~ Asset forfeiture (05)                                       0 Partnership and corporate govemance (21)
                     Emptoyment                                                                         Petifion re: arbitration award (11)                Q Other petition (not specified above) (43)
                     ~ Wrongful tennination (36)                                                        Writ of mandate (02)
                     ~ Other emptoyment (15)                                                            Other •udicial revtew (39)
              2. This case = is                          LZI is not                oomplex under rule 3.400 of the Califomia Rules of Court tf the case is complex, mark the
                      factors requiring exceptional judicial management
                      a. Q Large number of separateiy represented parlies                                            d, Q Large number of witnesses
                      b.        Extensive motion practice raising difficuft or novel                                 e.    Coordination with related actions pending in one or more courts
                                        issues that wili be time-consuming to resoive                                         in other counties, states, or countries, or in a federal court
                      c.                Substantial amount of documentary evidence                                   f. [] Substantial postjudgmentjudicial supervision
              3.      Remedies sought (check all thaf apply): a.F7 ./ monetary b.M nonmonetary; dedaratory or injunctive relief                                                                                           C. = punitive
              4.      Number of causes of action (specify): Six
              5.      This case Q is [~       ✓ is not a class action suit.
              6.      If there are any known related cases, fife and serve a notice of reiated case. (You may u CM-015.)
             Date: April 13, 2016
             Patricia Rodriguez Esq.
              '                                      (TYPE C1R PRINT NAMFI                                                                             (S        ATU E OF PAR                 OR ATTORNEY FOR PARTY)

                   • Plaintiff must file this cover sheet with the first paper fiied in the ac6on or proceedf~ng (exc)pt small cial s cases or cases filed
                     under the Probate Code; Family Code, or Welfare and Institutions Code). (Cal. Rui'es o                                                                     , t Li                        Failure to fiie may result
                     in sanctions.
                   • File this cover sheet in addition to any cover sheet required by local court rule.
                   • If this case is complex under rule 3.400 et seq. of the Califomia Rules of Court, you must serve a copy of this cover sheet on all
                      other parties to the action or proceeding.
                   • Uniess this is a collections case under ruie 3.740 or a complex case, this cover sheet will be used for statistical purposes onl.
                                                                                                                                                    aoetof2
              Form Adopted for Mandatory use                    .                                                                                                             Cal. Ru1es of Cow•t, rul:s 230, 3.22D, 3.400~,403, 3.740;
                   Jutlicla{ Council of Califomia
                                                                                              CIVIL CASE COVER SHEET                                                                          Ca1. Stantlards of Judicial Administralion• s(d. 3.10
                   CM410 {Rev. July 1, 20071             ~                                                                                                                                                                   ' www.courtinfo.ce.gov



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     __..                                                           .                           :        ,                      .         .   .   .- ._      _     .-   .~ ,-._..'             •         '. .        ....•.        ' ••4
                                                                                                                                                                                              --..
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0    sl



     1 I Patriccia Rodriguez Esq., SBN 270639
       I RODRIGUEZ LAW GROUP, INC.                                                  ELECTR(lNICAtLLY FILED
     2                                                                                Superior Gourt of Califomia,
        1961 W. Huntington Dr., Suite 201                                                  County of Urange
     3  Alhambra, California 91801                                                    04d`151201 Fi at 02: i7:32 Rlui
        Office Phone: (626) 888-5206                                                  Glerk of the 5uperior Couit
     4    Fax: (626) 282-0522                                                        By Trucmy 1t1j,©eputy Clerk

     5
          I Attorney for Plaintiff, .
     6     Diane Weinsheimer

    7                                   SUPERIOR COURT OF CALIFORNIA
     8                                   . FOR THE COUNTY OF ORANGE
     9
                                                                                   30-2016-00846567- C U- o R- CJ C
    10    I DIANE WEINSHEIMER, an individual                        Case No.:
                                                                                        Judge Sheila Fell

    11                              Plaintiff,                      VERIFIED COMPLAINT FOR
                   Vs.                                              DAMAGES & EQUITABLE RELIEF:
    12

    13    MTC FINANCIAL INC DBA TRUSTEE                             1.      WRONGFUL FORECLOSURE
          CORPS; MORTGAGE ELECTRONIC
    14    REGISTRATION SYSTEMS INC;                                 2.      VIOLATION OF CIVIL CODE
    15    SHELLPOINT MORTGAGE SERVICING;                                     §2934(a)
          THE BANK OF NEW YORK MELLON AS
    16    THE TRUSTEE FOR THE CHL                                    3.      VIOLATION OF CIVIL CODE
          MORTGAGE PASS THROUGH TRUST                                         §2924(a)(6)
    17    2005-HYB5, MORTGAGE PASS
    18    THROUGH CERTIFICATES, SERIES 2005                          4.      VIOLATION OF CIVIL CODE
          HYBS; AND DOES 1 THROUGH 20,                                        §2924.17
    19    INCLUSIVE,
    20                                                               5.      VIOLATION OF 15 U.S.0 §1641(g)
                                        Defendants.                          — TRUTH IN LENDING ACT
    21
                                                                     6.      VIOLATION OF CALIFORNIA
    22
                                                                             BUS. & PROF. CODE SECTIONS
    23                                                                       17200 ET SEQ

    24
                                                                           DEMAND FOR JURY TRIAL
    25

    26

    27

    28


                                                                1                                                     •
                             VERIFIED COMPLAINT FOR I3AMAGES & EQUITABLE RELIEr




                              =                       .   - ....~~:.. , -• ... . .. . . ,~:..    ~   . . ..: -r   .   ...   ~
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     1
             Plaintiff, DIANE WEINSHEIMER hereby alleges the following based on her personal
     2
             kriowledge, information and belief:
     3
                   1. Plaintiffhas resided in tlie County of Orange, State of Califomia at all relevant times
     4
                          herein.
     5
                   2. The home is situa.ted in the City of Newport Beacli, County of Ora.nge, State of
     6
                          California. The address is 5 Encore Court, Newport Beach, California 92663
    7
                      ("Property").
     s
                   3. SECURITY NATIONAL MORTGAGE COMPANY (hereinafter "SECURTTY
    9
                      NATIONAL"), is a corporation authorized to do business in the State of California.
    10
                          SECURTTY NATIONAL is the original mortgage lender for the loan used to purchase
    11
                          the property.
    12
                   4. The "Deed of Tnast" regarding the real property lists the Plaintiff as the borrower and
   13
                          SECURITY NATIONAL-as the,lender (recorded 06/30/2005, as instnunent number
   14
                          2005000510215 in the Office of the Recorder, Orange County, California).
   15
                   5. Defendant, MTC FINANCIAL INC (hereinafter "MTC") is the alleged current
   16
                          foreclosure trastee for this "Deed of Trust.". MTC is conducting business in the county
   17
                          of Orange, State of California.
    18
                   6. Defendant MORTGAGE ELECTRONIC REGISTRATION SYSTEMS INC
   19
                          (hereinafter "MERS") is and at a11 times herein mentioned, conducting business in the
   20
                          county of Orange, State of California. MERS is described in the original deed of trust as
   21
                          the nominee and beneficiary. MERS is an online member only database of alleged
   22
                          transfers of residential mortgages through non recorded assignments. Plaintiff is
   23
                          informed and believes, and thereon alleges that Defendant MORTGAGE
   24 I
                          ELECTRONIC REGISTRATION SYSTEMS INC. ("MERS") is allegedly named in
   25 !I
                          the Deed of Trust as acting solely as a"nominee" for the lender as the original
   26
                          beneficiary of the security interest Deed of Trust.
   27
                   7. LAWYERS TITLE COMPANY is the alleged trustee for the original deed of trust.
   26


                                                                                                 2
                                         VERIFIED CO-MPLAINT FOR DAIVIAGRS & EQUITABLE RELIEF




         ~   ~ ~      ~       .     _.    .   . _ ~ . . . _. r~ : . -   . .. ....   _. - ~ . -... .~ a _f. • ......_. .   ... .   ... .....   ~-   -   .-
Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 11 of 70 Page ID #:16
~    )




     1
          8. PlaintifPis informed and believes and upon such information and belief alleges that
     2
             Defendant SHELLPOINT MORTGAGE SERVICING (hereinafter "SHELLPOINT")
     3"
             was and is at all relevant times a national banl;ing association organized under the laws
     4
             of the United States and doing business in the State of California as a residential loan
     5
             servicer. It is the Plaintiff s belief that Defendant SHELLPOINT is the alleged servicer
     6
             of the Plaintiff s loan.
     7
          9. Plaintiff is informed and believes, and thereon alleges that Defendant THE BANK OF
     s
             NEW YORK MELLON is an institution authorized to do business in the State of
     9
             California. Plaintiff alleges that THE BANK OF NEW YORK MELLON is the alleged
    lo
             trustee for the securitized trust known as the CHL MORTGAGE PASS THROUGH
    11
             TRUST 2005-HYB5, MORTGAGE PASS THROUGH CERTIFICATES, SERIES
    12
             2005 HYB5.
    13
          10. Plaintiff is informed and believes, and thereon alleges that Defendant THE BANK OF
    14
             NEW YORK MELLON is the alleged tru
                                            stee for the securitized trust known as tlie
    15
             CHL MORTGAGE PASS THROUGH TRUST 2005-HYB5, MORTGAGE PASS
    16
             THROUGH CERTIFICATES, SERIES 2005 HYB5 allegedly received all beneficial
    17
             interest under the original Deed of Trust through a"Assignment of Deed of Trast"
    is
             which was allegedly recorded March 26, 2015 as instrument number 2015000156443 in
    19
             the Official Records of Orange County California.
    20
          11. The true name or capacities, whether individual, corporate, associate, or otherwise, of
    21
             the Defendants Does 1 through 20 are unknown to Plaintiff at this time, who therefore
    22
             sues such Defendants by such fictitious names, and will amend this Complaint to allege
    23
             their true names and ca.pacities when said Defendants are ascertai.ned. Plai.ntiff is
    24
             informed and believes, and thereon alleges, that each of said fictitiously nanled
    25
             Defendants is responsible for the occurrences herein alleged, and that Plaintiff's
    26
             injuries, as herein alleged, were proximately caused by said Defendants.
    27

    2s



                                                       3
                       VERIFIED COMPLALNT FOR DAMAGES & EQUITABLE RELIEF
Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 12 of 70 Page ID #:17
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      1
             12.Plaintiff is informed and believes and thereon alleges that at all times herein mentioned
      2
                each of the Defendants sued herein as DOE were the agents, servants, employees or
      3
                employers of their Co-Defendant, and in doing the things hereinafter alleged, were
      4
                acting in the course and scope of their authority as such agents, servants, enlployees, or
      5
                employers and with the permission and consent of their Co-Defendant.
      6
                                             FACTUAL ALLEGATIONS
      7

      8      13.On or about June 27, 2005, Plaintiff Diane Weinsheimer executed a non-negotiable

      9         prornissory note and a security interest in the form of a DEED OF TRUST in tlie
    10          amount of $640,000.00. The parties to the original note were the Plaintiff and
    11          SECURITY NATiONAL MORTGAGE CORPORATION only. No other Defendants
    12          were an overall party to the Deed of Trust.
    13       14.The Deed of Trust was recorded as document number 2005000510215 in the Office of
    14          the Recorder, Orange County, California on 66/30/05. (Eghi.bit uA").
    15       15.On May 19, 2010 Recontrust Company recorded a"Substitution of Trustee and
    16          Assignment of Deed of Trust" as document 2010000234986 in Orange County,
    17          California. The alleged Substitution of Trustee and Assignment of Deed of Trust
    18 I        alleged to substitute Recontrust Company as Trustee under the Deed of Trust and THE
       i
    19 I        BANK OF NEW YORK "all beneficial interest under that certain Deed of Trast."
    L
     20 II      (Exhibit "B").
    21       16.On November 7, 2011 Bank of America recorded an"Assignment of Deed of Trust" as
    22,         document 2011000562208 in Orange County, Califomia. The alleged Assignment of
    23          Deed of Trust alleged to "grant, assigns and transfers to THE BANK OF NEW YORK
    24          MELLON all beneficial interest under that certain Deed of Trust." (Exhibit "C"}.
    25       17.On March 26, 2015 TD Service Company recorded an"Assignment of Deed of Trust"
    26           as document 2015000156443 in Orange County, California. The alleged Assignment of
    27           Deed of Trust alleged to "grant, assigns and transfers to THE BANK OF NEW YORK
    28           MELLON a11 beneficial interest under that certain Deed of Trust." (Exhibit I'D").

                                                          4
                          VERIFIED CONFPLAINT FOR DAMA.GES & EQUITABLE RELIEF
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         1
                 18. On July 23, 2015 Old Republic Default Management Services recorded a"Substitution
         2
                    of Trustee" as document 20150000384072 in Orange County, California. The alleged
         3
                    Substitution of Trustee alleged to substitute Old Republic Default Management Services
         4
                    as Trustee under the Deed of Trust. (Exhibit "E").
         5
                 19. On November 5, 2015 TRUSTEE CORPS recorded a"Substitution of Trustee" as
         6
                    document 20150000575481 in Orange County, California. The alleged Substitution of
         7
                    Trustee alleged to substitute MTC FINANCIAL DBA TRUSTEE CORPS1 as Trustee
         a
                    under the Deed of Trust. (Exhibit "F").
             9
                 20. Additionally, TRUSTEE CORPS, has recorded and served a"Notice of Default and
        10
                    Election To Sell Under Deed of Trust" in the Official Records of Orange County
        11
                    California on December 9. 2015 as instrument number 2015000624574. (Exhibit "G").
        12
                 21. Thereafter, Defendants scheduled a pre-foreclosure trustee's sale of the Plaintiffs
        13
                    property on Apri17, 2016 as Trustee Sale # CA 08003185-15-1.
        14
                 22. Based on the following, Plaintiff alleges that the Note and Deed of Trust for the subj ect
        15
                    property was not properly endorsed and assigned to Defendant THE BANK OF NEW .
        16
                    YORK MELLON as the purported trustee for the Securitized Trust in accordance with
        17
                    the Defendant's own Pooling and Servicing Agreements ("PSA").
        16
                 23. Plaintiff alleges that the promissory note was made only pavable to SECURITY
        19
                    NATIONAL MORTGAGE COMPANY.
        20
                 24. The Securitized Trust in this matter, is a common law trust formed pursuant to New
        21
                    York law. Tlie corpus of the Trust purportedly consists of a pool of residential mortgage
        22
                     notes allegedly secured by liens on residential real estate. The Trust has no officers or
        23
                     directors and no continuing duties other than to liold assets and to issue the series of
        24
                     certif cates of investment.
        25
                 25. Plaintiff alleges that the origination of the loan was done as a form of predatory lending.
        26
                 26. The Pooling and Servicing Agreement ("PSA") for the Trust is a public document on
        27
                     file with the SEC. Plaintiff alleges that one purpose of the PSA is to document that the
        2s



                                                               5
                              VERIFIED COMPLAINT FOR I)AMAGES & EQUITABLE RELIEF
Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 14 of 70 Page ID #:19



    1
             Defendants originate and acquire mortgage loans in the regular course of business and
    2
             desire by the PSA to confurn the terms and conditions under which the Trust will
    3
             "acquire the mortgage loans" so originated.
    4
          27. Plaintiff is informed and believes, and thereon alleges, that the Trust issued the
    5
             investrnent bonds in the mortgage-backed Trust identified herein. Said securities were
    6
             duly registered with the Securities and Exchange Commission.
    7
          28. Pursuant to relevant sections of the PSA, prior to the Closing Date of the Trnst, the
    s
             Depositor agreed to deliver to the Custodian on behalf of the Trustee and for the benefit
    9
             of the Certificate holders, the original Mortgage Note bearing a11 intervening
   lo
              endorsements showing a complete chain of endorsement from the originator to the last
   11
              endorsee.
   12
          29. Overall, Plaintiff alleges that Defendants have been attempting to collect and enforce a
                                                                                               ;
   13
              debt without any legal right to do so.
   14
          34. Plaintiffs allege that in order for Defendant THE BANK OF NEW YORK MELLON or
   15
              any other entity to have a valid and enforceable secured claim against Plaintiffs Home,
   16
              they must prove and certify to all parties that, among other things:
   17
                      a. There was a complete and unbroken chain of endorsements and transfers of
   18
                           the Note from and to each parly to the securitization transaction as follows;
   19
                              • From originator/lender to
   20
                              • The sponsor/seller to the depositor to
   21

   22                         a   The trustee THE BANK OF NEW YORK MELLON.

   23                 b. Defendants have actual physical possession of the Note at that point in time,

   24                      wlien a11 endorsements and assignments had been completed;

   25                 c. That there was a complete and unbroken chain of endorsements and transfers
   26                      of the Note and Deed of Trust, from and to each party to the securitization
    27                     transaction; and
   2s


                                                        6
                          VERIFIED CONRPLAINT FOR 3yyA142AGES & EQUITABLE RELIEF
Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 15 of 70 Page ID #:20



     1
                      d. Defendants have actual physical possession of the Note and Deed of Trust at
     2'
                          that point in tune, when all endorsements and assignments had been
     3
                          completed.
     4 '
           31. Plaintiff alleges that absent such proof THE BANK OF NEW YORK MELLON cannot
     5 I
              demonstrate tha.t it had perfected its security interest in the Property that is the subject
     6
              of this action.
     7
           32. Therefore, Defendants should be estopped and precluded from asserting any secured or
     s i
              unsecured claim in this case.
     9 I
           33. The following deficiencies exist, in the "True Sale" and securitization process as to
    lo ,
              Plaintiffs Note and Deed of Trust which renders invalid any security interest in the
    11
              Plaintiff's mortgage, including, but not limited to:
    12
                      a. The splitting or separation of title, ownership and interest in Plaintiff s Note
    13

                          and Deed of Trust;
    14

    1s
                      b. When the loan was sold to each intervening entity, there were no

    16
                          Assignments or Endorsements of the Deed of Trust or Note to or from any

    17                    intervening entity at the time of the sale. Therefore, "True Sales" could not

    ls                    and did not occur;

    19                c. The failure to properly endorse, assign and transfer the beneficial interest in
    20                    the Plaintiffs Note together with the Deed of Trust to THE BANK OF NEW
    21                    YORK MELLON.
    22     34. Therefore it is Plaintiff's allegation that none of the Defendants in tlus matter hold a
    23         perfected and secured claim in the Home and that any/all of the Defendants are
    24         estopped/precluded from asserting az unsecured claim against the Plaintiff's home.
    25     35. Plaintiff notes that in lieu of valid assignments, trusts (iike tlie one noted in this matter)
    26         continue to rely on alleged assignments specially made by their own law firms and
    27         mortgage default service companies that are void assignments.
    2s



                                                         7
                        VERIFIED COMPLAINT FQIt DANfAGES & EQUITABLE I2ELIEF
Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 16 of 70 Page ID #:21



    1.
          36. However, courts across the United Stated are finally starting to uncover these fraudulent
    2
             assignments and are requiring that the foreclosing trusts prove that they own the
    3
             mortgage and note in the £oreclosure action, without relying on assignments that
    4
             inisrepresent the date of the actual transfer to the trast and the authority of the signers of
    5
             the original lenders.
    6
          37. According to the recently decided California Supreine Court case of Yvanova v. New
    7
             Centar MortizaLye Corporation, the Plaintiffs indeed have standing to (1) challenge the
    a
             validity of a loan assignment to a foreclosing entity and (2) challenge the authority of
    9
             the foreclosing entity that wishes to go forward with a trustee sale. Specifically, the
   10
             Yvanova v. New Century Mortg~,age Comoration states as follows;
   11

   12
             "A homeowner who has been foreclosed on by one with no right to do so has suffered
             an injurious invasion of his or her legal rights at the foreclosing entity `s hands. No
   13        more is required for standing to sue. "
   14        For these reasons, we conclude Glaski, supra, 218 Cal.App.4th 1079, was correct to
   15
             hold a wrong ful foreclosure plaintiff has standing to claim the foreclosing entity s
             purported authority to order a trzrstee `s sale was based on a void assignment of the note
   16        and deed of trust. " Yvanova v. New Century Mortgage Corn., 2016 Cal. LEXIS 956. *3
             (Cal. Feb. 18, 2016)
   17
          38. Overall, it seems as if all of the Defendants included in this action have acted (in
   18
              concert or alone) with the common goal to induce Plaintiff by giving the appearance of
   19
              legitimacy in their lending and collection practices while at the same time deceiving
   20
              Plaintiff to alter her position in accepting this loan.
   21

   22     39. Had Plaintiff known that the Defendants were operating in violation of the law through

   23         the securitization of the loan or in violation of any other lending, State or Federal laws,

   24         Plaintiff would have never done business with the Defendants, and would not be in the

   25         position she finds herself in today.
   26

   27

   28


                                                            8
                       «RIFI.ED COlVIPI.,AINT FOR D_A-1VIAGES & EQUITABLE RELLEF



                                               '                ,~ .        _" - - -             -"    °.t :       - _ .. .   ..-    ~   •
                                              - -    -   - ~-      -   •- .-. .-.--..r.:~~...~_. ~ ~~: ~ -- •. --: _,. - -, .~ .- -- . -- r --
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    t




    1                                 FIRST CAUSE OF ACTION
                                     Wi20NGFUL FORECLOSURE
    2
                                     (Asserted Against All Defendants)
    3
          40. Plaintiff hereby incorporates and herein by reference, all paragraphs contained in this
    4
             complaint as if the same were fully set forth at length herein.
    5
          41. In the instant matter before the Court, Defendants are taking express action to go
    6
             forward with a wrongful foreclosure sale of the Plaintiffs property as evidenced by the
    7
             (1) the recording of a"Notice of Default and Election To Sell Under Deed of Trusf' on
    s        December 9, 2015 and (2) that Defendants scheduling a pre foreclosure trustee's sale of
    9
             the Plaintiffs property on Apri17, 2016 as Trustee Sale # CA 08003185-15-1.
   10
          42. As noted above the recently decided California Supreme Court case of Yvanova v. New
   11
             Centur Mortgage Corporation, the Plaintiffs have standing to (1) challenge the validity
   12
             of a loan assignment to a foreclosing entity a.nd (2) challenge the authority of the
   13
             foreclosing entity that wishes to go forward with a trustee sale. Yvanova v. New Century
   14
             Mortzage Corp., 2016 Cal. LEXIS 956, *3 (Cal. Feb. 18, 20161.
   15
          43. Therefore, it is Plaintiffs' allegation that no documents or records can be produced that
   16
             demonstrate that prior to the closing date of the Deed of Trust, the Note or Deed of
   17
             Trust in this matter was duly transferred and delivered to the Securitized Tnist including
   18
             all intervening assignments, as required by the Securitized Trust's governing
   19
             documents.
   20
          44. Further, any purported assignments evidencing an assignment was defective at the time
   21
             the alleged assignment was executed. Therefore, Plaintiff alleges that the Assignment
   22
             purporting to transfer beneficial interests to THE BANK OF NEW YORK MELLON as
   23
             trustee for the Securitized Trast occurred well affter the Closing Date of the Securitized
   24
             Trust or any other period allowed under the governing documents for the Securitized
   25
             Trust. For the above reason, the purported assignments in this matter are void and not
   26
             just voidable.
   27

   26



                                                       9
                       vERIFIEIi CO1VII'IJAWT FOR DANiAGES & EQUITABLE RELIEB
Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 18 of 70 Page ID #:23
    S




    1
          45. Therefore, Plaintiff alleges that the Assignment purporting to transfer beneficial
    2
             in.terests to THE BANK OF NEW YORK MELLON as trustee for the Securitized Trust
    3
             is VOID.
    4
          46. Plaintiff fiu-ther alleges that even if the Note and Deed of Trust had been transferred
    ;
             into the Trust by the closing date, the transaction is still VOID as the Note would not
    6
             have been transferred according to the requirements of the PSA, since the PSA requires
    7
             a complete and unbroken chain of transfers and assigrunents to and from each
    s
             intervening party. This means that four assignments and four endorsements need to be
    9
             delivered to the trustee by the custodian prior to the closing date of the Deed of Trust.
   10
          47. Documents filed with the SEC by the securitization participants claim that the Note and
   11
              Deed of Trust at issue in thi s case were allegedly sold, transferred and securitized by
   12
              Defendants, with other loans and mortgages into the Trust, which is a Common Law
   13
             Trust formed pursuant to New York Law.
   14
          48. Plaintiff alleges that thepurported transfers of Plaintiff s debt or obligations did not
   1s
              comply with New York law, andlor other laws and statutes, and thus, do not constitute
   16
              valid and enforceable "True Sales: ' Therefore, any security interest in the Plaintiff s
   17
              Home was never perfected.
   ia
          49. Furthermore, the entity claiming interest in the Plaintiffs Note is not the beneficiary of
   19
              the Note or Deed of Trust.
   20
          50. The alleged beneficiary of Plaintiff s Deed of Trust does not have the requisite title,
   21
              perfected security interest or standing to proceed. Therefore the alleged beneficiary of
   22
              Plaintiff's Deed of Trust is not the real parrty in interest with regard to any action to be
   23
              taken against the Plaintiff's Home.
   24
          51. Plaintiff alleges, that pursuant to the terms of the PSA, the Mortgage Originator agreed
   25
              to the transfer and endorsement to the Trnstee for the Securitized Trust without
   26
              recourse, including all intervening transfers. and ass inents, all of its right, title and
   27

   ~e



                                                        10
                        VERIFIED COIVIPLAiN'T FOR DAh'IAGES & EQUITABLE RELIEF
    Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 19 of 70 Page ID #:24
    .    j




         1
                 interest in and to the mortgage loan to Plaintiff herein and all other mortgage loans
         2
                 identified in the PSA.
,        3
              52. Piaintiff alleges, that as a result of the PSA and other documents signed under oath in
         4
                 relation thereto, the Mortgage Originator, Sponsor and Depositor are estopped from
         5
                 claiming any interest in the Note that is allegedly secured by the Deed of Trust on
         6
                 Plaintiff s Home herein.
         7
              53. Plaintiff alleges, that this unlawful, improper and oppressive method of attempting to
         a
                 securitize the PlaintifPs Note has caused the value of the Home to significantly
         9
                 decrease and has, in effect, caused Plaintiffto lose either all or a substantial part of the
        lo
                 equity she would have created in her Home after making payinents.
        11
              54. As noted above the recently decided California Supreme Court case of Yvanova v. New
        12
                 Century Mortaage Corporation, "when a property has been sold at a trustees sale at the
        13
                 direction of an entity with no legal authority to do so, the borrower has suffered a
        14
                 cognizable injury." Yvanova v. New Century Mortgag—e Corp., 2016 Cal. L,BXIS' 956, *3
        15
                 (Cal. Feb. 18, 2016).
        16
              55. Defendants are attempting to foreclose without any legal authority or standing to do so,
        17
                 and in violation of State and Federal laws which were specifically enacted to protect
        18
                 consumers such as the Plaintiff from the type of abusive, deceptive, and unfair conduct
        19
                 in which Defendants engaged, which are detailed herein, by failing to follow the
        20
                 procedures prescribed by such laws to foreclose.
        21
              56. In addition to seeldng compensatory, consequential, punitive, and other damages,
        22
                 Plaintiff seeks an Order enjoining the Defendants from carrying out a foreclosure sale
        23
                 of the Home and Declaratory Relief as to whether the Deed of Trust secures any
        24
                  obligation of Plaintiff as to Defendants, and whether the Defendants, can foreclose or
        25
                  collect mortgage payments from Plai.ntiff.
        26

        27

        28




                           N'ERIFIED COMPLAINT FOR BAMA,GES & EQUITABLE RELIEF
Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 20 of 70 Page ID #:25



    1
          57. Plaintiff alleges that all Defendants have been unjustly enriched from their collection
     2
             efforts, as Defendants are not due and owed any monies regardless of theit
     3
             protestations.
     4
          58. Plaintiff alleges that Defendants are attempting to take advantage of the complex
     5
             structured financial system to defraud yet another homeowner and mislead Plaintiff into
     6
             believing that Defendants are entitled to foreclose on the Home.
    7

                              SECOND CAUSE OF ACTION:
     a
                  _VIOLATION OF CALIFORNIA CIVIL CODE SECTION 2934(a)
     9                        (Asserted Against All Defendants)

    lo    59. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though
    11        fully set forth herein.
    12    60. Plaintiff is informed and believes, and thereon alleges, that in this matter a"Notice of
    13        Default and Election To Sell Under Deed of Trust" was recorded on December 9, 2015.

    14
              (Exhfbit "G")                                       ,
          61. However, it is Plaintiffs belief that the Defendants have engaged in wrongful conduct
    15
              through the attempted recording of multiple invalid. substitution of . trustees and
    16
              assignments of deed of trust which make the Notice of Default both invalid and
    17
              recorded in bad faith.
    18
          62. There£ore, Plaintiff alleges that, THE BANK OF NEW YORK MELLON did not have
    19
              standing to commence foreclosure proceedings.
    20
          63. Additionally, Plaintiff alleges that, the original trustee under the deed of trust, was
    21
              likely not aware that foreclosure proceedings had been initiated as required under Civil
    22
              Code §2934a(c).
    23
          64. Civil Code §2934a(c) requires the substitution of Trustee to be mailed to the original
    24
              foreclosure trustee. Upon information and belief, the Plaintiff alleges that no notice was
    25
              sent to the original foreclosure trustee.
    26
           65. Additionally, under California Civil Code §2934a(c) requires the substitution of Trustee
    27.
              to be mailed to the trustee then of.record.
    28



                                                          12
                        N'ERIFIED COMPLAINT FOR DANd.AGES & EQUITABLE RELIEF
    Case ~8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 21 of 70 Page ID #:26
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        1
              66. As a proximate cause of this violation of the non judicial foreclosure statute, the
        a
                 Plaintiff was iiTeparably injured in an amount not yet ascertained, but at least the value
        3
                 of the Home.
        4                           TIiIRD CAUSE OF ACTION
                        VIOLATION OF CIVIL CODE OF PROCEDURE &2924(0(6)
        5                          (Asserted Against All Defendants)
        6     67. Plaintiff hereby incorporates and herein by reference, all paragraphs contained in this
        7        complaint as if the same were fully set forth at length herein.
        8     68. California Civil Code section 2924(a)(6) states
        g            a. "No entity shall record or cause a notice of default to be recorded or otherwise
                         initiate the foreclosure process unless it is the holder of the beneficial interest
       10                under the mortgage or deed of trust, the original trastee or the substituted
       11                trustee under the deed of trust, or the designated agent of the holder of the
                         beneficial interest."
       12
              69. It further states: No agent of the holder of the beneficial interest under the mortgage or
       13
                 deed of trust, original trustee or substituted trustee under the deed of trust rnay record
       14
                 a notice of default or otherwise commence the foreclosure process except when acting
       15
                 within the scope of authority designated by the holder of the beneficial interest."
       16
              70. California Civil Code 2924(a)(6) states that for an entity to properly record a notice of
       17                                                                                                      I
                  default, that entity must be entitled to enforce both. the Note and the Deed of Trast.
       18     71. Yet, Defendants THE BANK OF NEW YORK MELLON, MTC FINANCIAL INC
       19
                  and SHELLPOINT MORTGAGE SERVICIItiTG were not and are not the holder of a
       20
                 beneficial interest under the Mortgage or Deed of Trust as the loan was taken out with
       21
                  INDY_MAC in 2006
       22
              72. Additionally, Defendants THE BA_NK OF NEW YORK MELLON, MTC
       23
                  FINANCIAL INC and SHELLPOINT MORTGAGE SERVICING were not and are
       24
                  not an agent of the holder of a beneficial interest under the Mortgage or Deed of Trust
       25
                  that was taken out with SECURITY NATIONAL MORTGAGE COMPANY in 2005
       26
              73. Yet, Defendants THE BANK OF NEW YORK MELLON, MTC FINANCIAL INC and
       27
                  SHELLPOINT MORTGAGE SERVICING are trying to go attempt to foreclose on the
       28


                                                            13
                           VERIFIED CODIPLAINT rOR DA_tiTAGES & EQUIT'ABLE RELIEF
Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 22 of 70 Page ID #:27
     ,


     1
             Plaintiffs property as evidenced by the recording of a"Notice of Default and Elecfion
     a
             To Sell Under Deed of Trast" on December 9, 2015.
     3
          74. Since THE BANK OF NEW YORK MELLON, MTC FINANCIAL INC and
     4
             SHELLPOINT MORTGAGE SERVICING are NOT the original tnzstee or the
     s
             substituted trastee under the original Deed of Trust, they do not have the standing to
     6
             record a Notice of Default against tlie Plaintiff.
     7
          75. As a direct and proximate result of the violation of CCP 2924(a)(6) Plaintiff has
     s
             suffered, and continues to suffer, statutory, general and special damages in an amount
     9
             to be determined at trial, but not less than $5,000,000.
    so
          76. Per the statute Plaintiff is also entitled to reasonable attorney's fees and cost.
    ii
    12
                                 FOURTH CAUSE OF ACTION:
                        VIOLATION OF CALIFORNIA CIVIL CODE & 2924,17
    13                         (AGAINST ALL DEFENDANTS)
    14    77. Plaintiff re-alleges and incorporates the allegations contained in a11 paragraphs of this

    15        complaint, as though fully set forth.herein.

    16    78. California Civil Code § 2924.17(b) states as follows:

    17        "Before recording or f ling any of the documents described in subdivision (a), a
    18        mortgage servicer shall ensure that it has reviewed competent and reliable evidence to
              substantiate the borrower's default and the Yight to foreclosure, including the
    19        borrower's loan status and loan information. "
    20
          79. Here, Plaintiff is informed and believes, and thereon allege that the following
    21
              documents were recorded and served;
    22

    23    •"Notice of Default and Election To Sell Under Deed of Trust" recorded on December 9,
             , 2015 by TRUSTEE CORPS (20150006244574 in the Official Records of Orange
    24        County California)
    25    80. Defendants did not review Plaintiff's file with competence and reliable evidence before
    26        recording the "Notice of Default and Election To Sell Under Deed of Trust."
    27    81. Defendants did not review Plav.itiff s file competently including all evidence to
    28        "substantiate the borrower's default and the right to foreclosure, including the

                                                        14
                        VERIFIED COMPLA.INT FOR DAM AGES & LQUITABLE RELIRF
Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 23 of 70 Page ID #:28
    ,



     1
              borrower's loan status and loan information" and correct assignment and/or
     2
              endorsements to the investor. If Defendants had reviewed the evidence they would have
     3
              seen that by attempting to serve and record the "Notice of Default and Election To Sell
     4
              Under Deed of Trust" was in violation of 2924.17.
     5
           82. As a result of Defendants improper handling of Plaintiffs file, Plaintiff's file was not
     6
              reviewed competently and with reliable evidence, which resulted in the attempted
     7
              recording and filing of a"Notice of Default" and a"Notice of Trnstee's Sale" .
     a
           83. Further, it is Plaintiff's allegation that the actions of the Defendants were done with
     9
              knowledge and malice.
    10
           84. Per the statute, Plaintiff is entitled statutory damages, reasonable attomey's fees and
    11 i
               costs.
    12 ,

    13 '
                                 FIFTH CAUSE OF ACTION:
                    VIOLATION OF 15 U.S.0 &1641(e) — TI2UTH IN LENDING ACT
    14                            (AGAINST ALL DEFENDANTS)

    15     85. Plaintiff hereby alleges and incorporates herein by reference, all paragraphs con.tained

    16         in this complaint as if the same were fully set forth at length herein.

    17     86. Plaintiff alleges, that the subsequent transfer of an interest in the PlaintifPs loan and

    18         lack of notice of the transfer is a violation of the Truth and Lending Act section

    19         1641(g).
    20     87. Alternatively, if Defendants do not have interest in the property and are "new"
    21         creditors then they are in violation of the Truth and Lending Act section 1641(g).

    22     88. The new subsection (g) added to § 131 of TILA states:
                     (1) In general - In addition to other disclosures required by this subchapter, not
    23
                     later than 30 days after the date on which a mortgage loan is sold or otherwise
    24               transferred or assigned to a third party, the creditor that is the new owner or
                     assignee of the debt shall notify the borrower in writing of such transfer,
    25               including —
    26
                        A. the identity, address, telephone number of the new creditor;
    27                  B. the date of transfer;
                        C. how to reach an agent or parry having authority to act on behalf of the new
    28                      creditor;

                                                        15
                          VERIFIED COMPLAINT FCDR DAMAGES & EQUITABLE RELIEF
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     .




     1               D. the location of the place where transfer of ownership of the debt is recorded;
                         a.nd any other relevant information regarding the new creditor.
     2.

     3
          89. Plaintiff did not discover the violation of 15 U.S.0 § 1641 until they obtained counsel
     4
             who discovered that the Loa.n had been allegedly assigned by the Defendants.
     5
          90. Because, Defendant THE BANK OF NEW YORK MELLON concealed their
     6
             ownership in the Deed of Tnist and transfer/assignment of the Deed of Trust the
     7
             equitable tolling for statute of limitation should be applied.
     a
          91. Plaintiff could not have with reasonable diligence discovered that Defendants claimed
     9
             an ownership interest because they did not receive a copy of the assignment as required
    io
             by law, and were not required to check the Recorders office for such notice.
    is
          92. Furthermore, Plaintiffwas receiving material that would have led a reasonable person
    12
             to believe their creditor was another entity, specifically SHELLPOINT MORTGAGE
    13
             SERVICING.
    14
          93. Therefore, a.ny statute of limitation on the claim was equitably tolled.
   15
          94: Plaintiffs never received a notice in compliance with TILA 1641 (g).
    16
          95. Thus, Defendants violated § 131(g) of 15 U.S.C. § 1641 and are subject to statutory
    17
              damages, civil liability, penalties, attomeys' fees and actual damages pursuant to 15
    16
              U.S.C. §1640.
    19
          96. Actual damages include but are not limited to the over calculation and overpayment of
    20
             interest on the Loan, the cost of repairing Plaintiff's credit, costs associated with
   21
             removing the cloud on the property title, cost of a securitization audit, loss of equity,
    22
             and attorneys' fees and costs, and any amount to be proven at trial.
    23
          97. As noted above the recently decided California Supreme Court case of Yvanova v. New
    24
              Century Mortgage Cor~oration, "when a property has been sold at a trustees sale at the
    25
              direction of an entity with no legal authority to do so, the borrower has suffered a
    26
              cognizable injury." Yvanova v. New Centur-v MortggQe Corp., 2016 Cal. LEXIS 956. *3
    27
              (Cal. Feb. 18, 2016).
    2s


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                       vERIFIED CONIPL.4.INT FORDAIVIAGES & EQUITABLE RELIEF
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    1                            SIXTH CAUSE OF ACTION
             VIOLATION OF CALIFORNIA BUS. & PROF. CODE SECTIONS 17200 ET SEO
     2                          (Asserted against All Defendants)
     3

     4       98. The Plaintiff alleges that Defendants engaged in deceptive business practices as defined
     5            in the Code section above, by engaging in deceptive business practices by attempting to
     6            collect on a debt that was void and unenforceable.
    ?        99. Plaintiff further alleges that each of the Defendants above also engaged in deceptive
    $             business practices by fraudulently recommending, offering, marketing, accepting,
     9            purchasing and or collecting on a debt/mortgage that they each knew or should have

    lo            known was void due to the illegal nature of the Defendants trying to clairn they hold a

   11             perfected and secured claim in the Plaintiffs Home. The Defendants continued reliance

   12             on invalid assignments and trasts (like the one noted in this matter) show their

   13             continued use of alleged assignments specially made by their own law firms and

   14             mortgage default service companies that are void assignments - a violation of the public

   15             policy of promoting home ownership and preventing foreclosures (Cal. Civi1 Code §

   16             2934(a), 2924(a)(6), 2924.17 and USC § 1641(g)).
   17        100.              The acts of the Defendants above, constitute unfair business practices and/or
    is            acts, as defined in California Business and Professions Code §17200, as the acts were in
   19             violation of California statutory law, Civil Code §§ 1667 (as the acts wer.e illegal), 1708
   20             (as the acts were injurious to the Plaintiff and to the public at large, in that they were
   21             designed to cause a certain or likely foreclosure), 1709 (as the Plaintiff was willfully
   22             induced to change her financial positaon to her detriment,) and were also in violation of
   23             established California public policies to promote and preserve home ownership and to
   24             prevent foreclosures. (Cal. Civil Code § 2934(a), 2924(a)(6), 2924.17 and USC §
   25             1641(g)).

   26        101.              Plaintiff furtlier alleges that the acts of the Defendants were intentional and
   27             malicious, as they knew or should have known that the loan agreements were in
   28             violation of numerous California Statutes (§ 2934(a), 2924(a)(6), 2924.17), aand was

                                                                        17
                                   N7ERIFIED COMPLAINT FOR DAMAGES & EQL'ITABLE RELIEF




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                                                        ~   ' - ~   -   -    ~ .   •   ~.   a:   ~ -   . .   .   . .
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    1
                also in violation of established California public policies to promote and preserve home
    2    I
                ownership and to prevent foreclosures.
    3!
             102.        The failure of Defendants to comply with State and Federal law also appears to
    41
                be part of their company policies of seelang to deny such Federal benefits to those suclz
    5
                as the Plaintiff, who would otherwise qualify for the benefits, but for the fraudulent
    6
                conduct of the Defendants, who willfully targeted the Plaintiff for predatory lending and
    7
                servicing.       -
    8
             103.        Lastly, the Plaintiff alleges that the acts were also oppressive and substantiaily
    9
                injurious to consumers, such as the Plaintiff, in that they were committed with the intent
   10
                and/or knowledge that the commission of the acts would result in the certaiiz default of
   11,
                the subject loan and possible forfeiture of the Plaintiffs home and equity. The acts of I
   12
                Defendants in furtherance of its fraudulent and deceitful corporate polices.
   13
             104.        As a direct and proximate cause of the acts of the named Defendants, the
   14
                Plaintiff has suffered by strnggling to avoid becoming delinquent on her mortgage. She
   15
                has also suffered consequential damages in an amount to be fully deternlined at time of
   15
                trial, but in an amount exceeding $100,000.00 to date and is entitled to all statutory
   17
                damages as provided in the above entitled Code section, including attorney's fees and
   18
                costs.
   19

   20


   21

   22

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   27 i

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                                                          18
                          VERIFIEB CQNfPLAINT FORDAAIAGES & EQUITAELE RELIEF
Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 27 of 70 Page ID #:32



     1
                                              PRAYER FOR RELIEF
     2
            WHEREFORE, Plaintiff prays for judgment against the Defendants and each of them as
     3
            follows:
     4
            1. For all compensatory damages incurred according to proof;
     5
            2. For a11 consequential damages incurred according to proof;
     6
            3. For all special datnages according to proof;
     7
            4. For punitive damages sufficient to punish the Defendants and act as a deterrent to others;
     s
            5. For all statutory damages as applicable;
     9
            8. For any prejudgment or other interest according to law;
    lo
            9. For costs and reasonable attorney's.fees; and
    11
            10. For suck other relief that the court may deem just and proper.
    12

    13

    14

            t Dated: April 13, 2016                                RODRIGUEZ LAW                 INC.
    15 I'

    16

    17

    ls                                                                                    Esq.
                                                                                 Pl
    19                                          '                  D
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                              VEI2IFIED COMPLAINT FOR DAMAGES & EQUITABLE RELIEF
Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 28 of 70 Page ID #:33



      1                                              VERIFICATION
      2

      s     State of Califoniia            }
                                          .}
      a     Cotintv of Ox-aza&e
      5

      E                1., I11.ANEWEINSHEIM.FR, axn the Plaantiilizt. this action.l h.ave x•ead the

      7
            foregoing Complaint. I am iiifoitned and believe and on that grottnd aliege tlhat niatters stated
            thwTeZtl az~e true.
      R
                     I declarz under penalty of perjury tLnder th.e Iaws ofthe State of Califoniia that the
      9
            foregqing is ttue an,d correct.              _
     ~J


     11
                     Executed on ApriJ 13, 2016, _N;.wport Beach, Califon~ia.
     J. !


     13
                                                                ,
     14

     ]5
                                                             DIANE WEINSHEIMER
                                                             Plaintiff

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     20 I

     21

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                                  VERTFtEL Co'N4S'LAIhT FUR tIA.MAc.Es & EQUtTA.at,E RELIFF
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Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 30 of 70 Page ID #:35
                                            Recorded fn Official Records, Orange County
                                                                      Tom Daly, Clork-Recorder .
          Ltvwylwr T-ffto,                                             01111III1111.1111111MlIl Qi1111111911111        76,00
     After Recarding Return To:                                               2005000510215 04:30pm 06I30105
                                                                      11748 D11 24
                                                                      0.00 0.00 0.00 0.00 69.00 0.00 0.00 0.00
     SECURITYNATIONAL
     MORTGAGE COMPANY
     5300 SOUTH 360 Nl'EST
     SUITE 15o
     MURRAY, UTAH 84123
     LOAN NO.: 312315


     ESCROW NO.: 05326141-28
     TITLE NO.: 05326141-28
     PAItCEL NO.: 932-58-245
                                                        (SPACE ABOVE THIS LINE FOR RECORDING DATA] --
     M9N NO.: 1000317-0000312315-1            DEED OF TRUST




     DEFINITIONS
     Words used in multiple sections of this document are defined below and other words are defined in Sections 3,
     11, 13, 18, 20 and 21. C.ertain rules regarding the usage of words used in this document are also provided in
     Seetion 16.
     (A) "Secnrity Instrnffient" means this document, which is dated NNE                             27           ,   2005   , together
     with all Riders to this document.
     (B) "Borrower" is
      DIANE VPEINSHEIlMR, AN UALMARRIED wOMAN




     Borrower fs the trustor under this Security Instrument.
     (C) "Leader" is
      SECURITYNATIONAL MORTGAGE COMPANY, A VfAH CORPORATION

     Lender is a A i7TAH CORPORAT'lON                                          organized and existing under the laws
     of                   UTAH                                           I.ender's address is
      5300 SOU'I`K 360 WEST SUITE 150; M'URRAY, UTAH 84123


     (D) "Trustee" is
      LAWYERS TITLE COMPANY

     (E) "MERS" is Mortgage Electronic Regisuation Systems, Ine. MERS is a separate corporation that is acting
     solely as a nominee for Lender and I.ender's successors and assigns. MERS is the benef`ciary under this
     Security Instrument. MERS is organized and existing under the iaws of Delaware, and has an address and
     telephone number of P.O. Box 2026, Flint, MI 48501-2026, tel. (888) 679-IvIERS. '

                                                                   Initials
     CALII~'ORN1.A-Singte Family-Fannie MaefFreddie Mac UNIFORM INSTEZUMENP -141ERS                                    Fona13005 1/01
     IJOCPREP SfiRVILES. INC. FORM - kIDOTCA2,3105    Page 1 of 15    .
                                                      ORIGINAL
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     (F) "Note" means the promissory note signed by Borrower and dated .TUNE                  27    ,    2005   .The
     Note states that Borrower owes Lender
      SIX HUTiDRED FORTY TI€OUSAND AIv-D 00/100                                                                Doilars
     (U.S. $               640,000-00      ) phis interest. Borrower has promised to pay this debt in regular Periodic
     Payrnents and to pay the debt in full not later than JULY               01 , 2035

     (G) "Property" means the properry that is described below under the heading "Transfer of Rights in the
     Property. «

     (I~ "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and lare charges due
     under the Note, and all sums due under this Security Instrument, plus interest.
     (n "Ridets" means all Riders to this Security Instrument tltat are executed by Borrower. The following Riders
     are to be executed by Borrower [check box as appiieable]:
         ® Adjustable Rate Rider        ® Condominium Rider                       ® Second Home Rider
         ❑ Balloon Rider                ❑ Planned Unit Development Rider          ❑ Assumption Rider
         ❑ 1-4 Famdy Rider              ❑ Biweekly Payment Rider                  ❑ Inter Vivos Trust Rider
         ❑ Other(s) [specify]:


     (J) "Applicable Law" means all controlling applicable federal, state and Iocal statates, regulations, ordinances
     and administrative rules and orders (that have the effect of law) as weA as all applicable fmal, non-appealable
     judicial opinions.
     (K) "Community Association Dues, Fees and Assessments" rneans all dues, fees, assessments and other
     charges that are imposed on Borrower or the Property by a condominium association, hoineowners association
     or similar organization.
     (L) "Electronic Ptinds Transfer" means any transfer of funds, other than a transaction originated by check,
     draft, or similar paper instrument, which is initiated through an electronic terminal, telephonic instrument,
     computer, or magnetie tape so as to order, instruct, or authorize a financial institution to debit or credit an
     account. Such term inciudes, but is not limited to, point-of-sale transfers, automated teller machine
     transactions, transfers initiated by telephone, wire transfers, and automated clearinghouse transfers.
     (Ivl) "Escrow Items" means those items that are described in Section 3.
     (N) "Miscetlaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid by
     any third parry (other than insurance proceeds paid under the coverages described in Section 5) for: (i) damage
     to, or destruction of, the Property; (ii) condemnation or other taking of all or any part of the Properry; (iii)
     conveyance in lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the value and/or
     condition of the Property.
     (0) "Mortgage Insurance" means insurance protecting.Lender against the nonpayment of, or default on, the
     Loan.
     (P) "Periodic Payment" means the regulariy scheduled amount due for (i) principal and interest under the
     Note, plus (ii) any amounts under Section 3 of this Security Instrnment.
     (Q) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. § 2601 et seq.) and its
     implementing regulation, Regulation X(24 C.F.R. Part 3500), as they might be amended from time to time, or
     any additional or successor legisiation or regulation that govems the satne subject matter. As used in this
     Security Instrument, "RESPA" refers to all requirements and restrictions that are imposed in regard to a
     "federally related mortage loan" even if the Loan does not qualify as a"federaily related mortgage loa.n" under
     RESPA.
     (R) "Successor in Interest of Borrower" means any party that has taken title to the roperty, whether or not
     that party has assumed Borrower's obIigations under the Note andlor this Security In   ent.

     LOAN NO.: 312315                                               lnitials~
     CALIFORMA-Single Family-Faunie MaelFreddie Mac UMFORi1Z INSTRUMENT • MERS                          Form 3005 1/01
     DoCPRSP SPRVICES. INC. F08M • MDOTCAl-3105   Page 2 of 15
                                                  ORIGINAL
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     TRANSFER OF RIGI€iTTS llV THE PROPER'I'Y
     The beneficiary of this Security Instrament is MERS (solely as nominee for Lender and Lender's successors and
     assigns) and the successors and assigns of MERS. This Secarity Instrument secures to Lender: (i) the
     repayment of the Loan, and atl renewals, extensions and modifications of the Note; and (ii) the performance of
     Borrower's covenants and agreements under this Security Instrament and the Note. For this purpose, Borrower
     irrevocably grants and conveys to Trustee, in trust, with power of sale, the following described property located
     in the         COUNTY                                 of ORANGE
                      [Ty pe or Recording Jurisdiction]                      [PInme of Recording Jurisdiction]
     LEGAL DESCRIPTION ATTACIIED HERETO AND AiADE A PART HEREOF




     AD,TiJSTA$LE RATE RIDER(S) ATTACHED HERETO AND MADE A PART HEREOF
     TWO PAGE CONDOMIlVILIlVI R®ER ATTACHED HERETO AND MADE A PART HEREOF
     SECOND HOME RIDER ATTACHED HERETO AND MADE A PART HEREOF




                                                          PARCEL NO.: 932-59-245

     which currently has the address of 5 ENCORE COURT
                                                                            [Street]
     NEEVPORT BEACH                                            , California 92663                     ("Property Address"):
                               relty/Arenl                                     CMa Codel
          TOGETHER WITH all the improvements now or hereafter erected on the properry, and all easements,
     appurtenances, and fixtures now or hereafter a part of the property. All replacements and additions shall also
     be covered by this Security Instivment. AII of the foregoing is referred to in this Security lnstrument as the
     "Properry. " Borrower understands and agrees that MERS holds only Iegal title to the interests granted by
     Borrower in this Security lnstrument; but, if necessary to comply with the Iaw or custom, MERS (as nominee
     for Lender and Lender's successors and assigns) has the right: to exercise any or all those interests, including,
     but not limited to, the right to foreclose and sell the Property; and to take any action required of L.ender
     including, but not limited to, releasing and canceling thi.s Security Instrument.
          BORROVYER COVENANTS that Borrower is lawfuIly seised of the estate hereby conveyed and has
     the right to grant and convey the Property and that the Property is unencumbered, except for
     encumbrances of record. Borrower warrants and will defend generally the title to the Property agamst all
     claims and demands, subject to any encumbrances of record.
         THIS SECURITY INSTRIJMEN'r combines uniform covenants for nazional use and non-uniform
     covenants with lunited variations by jurisdiction to constitute a unifornn securi instrument covering real
     property.


     LOAN NO.: 312315                                                 Initials C--'
     CALIFORNIA-Single Family-Fazenie Mae/Freddie Mac I.7NIFORM INSTRLTMENT - MERS                               Form 3005 1/01
     DoCPRBPSERS9C£S INC. FORM-MDOTCAI-3105          Page 3 of 15
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         L'1~'IFORM CO'YENANTS. Borrower and Lender covenant and agree as follows:

          1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and I.ate Charges. Borrower
     shall pay wben due the principal of, and interest on, the debt evidenced by the Note and any prepayment
     charges and late charges due under the Note. Borrower shall also pay funds. for Escrow Items pursuant to
     Section 3. Payments due under. the Note and this Security Instrument shall be made in U. S. currency.
     However, if any check or other instrument received by Lender as payment under tihe Note or this Security
     Instrument is returned to Lender unpaid, Lender may require that any or all subsequent payments due under the
     Note and this Security Instrument be made in one or more of the following forms, as selected by L.ender: (a)
     cash; (b) ttioney order; (c) certified check, bank check, treasurer's check or cashier's check, provided any such
     check is drawn upon an institution whose deposits are insured by a federai agency, instzvmentality, or entity; or
     (d) Electronic Funds Transfer.
          Payments are deemed received by L.ender when received at the location designated in the Note or at such
     other location as may be designated by Iznder in accordance with the notice provisions in Section 15. I.ender
     may return any payment or partial payment if the payment or partial payments are insufficient to bring
     the Loan current. Lender may accept any payment or partial payment insufficient to bring the Loan
     current, without waiver of any rights hereunder or prejudice to its rights to refuse such payment or partial
     payments in the future, but Lender is not obligated to apply such payments at the time such payments are
     accepted. If each Periodic Payment is applied as of its scheduled due date, then Lender need not pay interest on
     unapplied funds. Lender may hold such unapplied funds until Borrower makes payment to bring the I.aan
     current. If Borrower does not do so within a reasonable period of tune, Lender shall either apply such funds or
     retnm them to Borrower. If not applied earlier, such funds will be applied to the outstanding principal balance
     under the Note inunediately prior to foreclosure. No offset or claim which Borrower might have now or in the
     future against Lender sh.all relieve Borrower from maldng payments due under the Note and this Security
     Instrument or performing the covenants and agreements seeured by this Security Instrument.

          2. Applleation of Payments or Proceeds. Except as otberwise described in this Section 2, all payments
     accepted and applied by Lender shall be applied in the foAowing order of priority: (a) interest due under the
     Note; (b) principal due under the Note; (c) amounts due under Section 3. Such payments shall be applied to
     each Periodic Payment in the order in which it became due. Any remaining amounts shall be applied first to
     late charges, second to any other amounts due under this Security Instrument, and then to reduce the principal
     balance of the Note.
          If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient
     amount to pay any late charge due, the payment may be applied to the delinquent payment and the late charge.
     If more than one Periodic Payment is outstanding, Lender may apply any payment received from Borrower to
     the repayment of the Periodic Payments if, and to the extent that, each payment can be paid in full. To ttre
     extent that any excess exists after the payment is applied to the full payment of one or more Periodic Payments,
     such excess may be applied to any late charges due. Voluntary prepayments shall be applied first to any
     prepayment charges and then as described in the Note.
         Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the
     Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.

         3. Funds For Escrow Items. Borrower ehai pay to Lender on the day Periodic Payments are due under
     the Note, until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due for: (a)
     taxes and assessments and other items which can attain priority over this Security Instrument as a lien or
     encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if any; (c) premiums for
     any and atl insurance required by L.ender under Section 5; and (d) Mortgage Insurance premiums, if any, or any
     sums payable by Borrower to I.ender in lieu of the payment of Mortgage Insurane premiums in accordance
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     LOAN NO.: 312315                                                Initials _~[ V_k_(
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     with the provisions of Section 10. 'Fhese items are cal3ed "Escrow Items." At origination or at any time during
     the term of the Loan, Lender may require that Community Association Dues, Fees and Assessments, if any, be
     escrowed by Borrower, and such dues, fees and assessments shall be an Escrow Item. Borrower shall promptly
     fumish to I.ender all notices of amounts to be paid under this Section. Borrower shall pay Lender the Funds
     for Escrow Items unless Lender waives Borrower's obligation to pay the Funds for any or all Escrow Items.
     Lender tnay waive Borrower's obligation to pay to Lender Funds for any or all Escrow Items at any time. Atty
                                                                                   )
     such waiver may only be in writing. In the event of such waiver, Botrower shall pay directly, when and where
     payable, the amounts due for any Escrow Items for which payment of Funds has been waived by Lender and, if
     Lender requires, shall furnish to Lender receipts evidencing such payment within such time period as Lender
     may require. Borrower's obfigation to make such payments and to provide receipts shall for all purposes be
     deemed to be a covenattt and agreement contained in this Security Instrument, as the phrase "covenant and
     agreement" is used in Section 9. If Borrower is obligated tv pay Escrow Items directly, pursuant to a waiver,
     and Borrower fails to pay the amount due for an Escrow Item, L.ender may exercise its rights under Section 9
     and pay such amount and Borrower shall then be obigated under Section 9 to repay to Lender any such amount.
     Lender may revoke the waiver as to any or all Escrow Items at any time by. a notice given in accordance with
     Seetion 15 and, upon such revocation, Borrower shall pay to Lender all Funds, and in such amounts, that are
     then required under this Section 3.
          Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the
     Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can require
     under RESPA. Lender shall estimate the amount of F~tnds due on the basis of current data and reasonable
     estimates of expenditures of future Escrow Items or otherwise in accordance with Applicable Law.
          The Ftinds shall be held in an institution whose deposits are insured by a federal agency, instramentality,
     or entity (including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home
     Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time specified under
     RESPA. Lender shall not charge Borrower for holding and applying the Funds, annuaIIy analyzing the escrow
     account, or verifying the Escrow Items, unless Lender pays Borrower interest on the Funds and Applicable Law
     permits Lender to make such a charge. Unless an agreement is made in writing or Applicable Law requires
     interest to be paid on the Ftnds, Lender shall not be required to pay Borrower any interest or eamings on the
     Funds. Borrower and Lender can agree in writing, however, that interest shall be paid on the Funds. Lender
     shall give to Borrower, without charge, an annual accounting of the Funds as required by RESPA.
          If there fs a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower
     for the excess funds in accordance with RESPA. If there is a shortage of )"ttnds held in escrow, as defined
     under RESPA, I.ender shail notify Borrower as required by RESPA, and Borrower shall pay ro Lender the
     amount necessary to make up the shortage in accordance with RESPA, but in no more than 12 monthly
     payments. If there is a deficiency of Funds held in escrow, as defined under RESPA, I.ender shall notify
     Borrower as required by RESPA, and Borrower shall pay to Lender the atnount necessary to make up the
     deficiency in accordance with RESPA, but in no more than 12 monthiy payments.
         Upon payment in fu11 of all sums secured by this Security Instrament, Lender shall promptly refund to
     Borrower any Funds held by Lender.

          4. Charaes; Liens. Borrower shalI pay all taxes, assessments, charges, fines, and impositions
     attributable to the Property which can attain priority over this Security Instrument, leasehold payments or
     ground rents on the Property, if any, and Community Association Dues, Fees, and Assessments, if any. To the
     extent that these items are Escrow Items, Borrower shall pay them in the manner provided in Section 3.
         Borrower shall promptly discharge any lien which has priority over this Security Instcvment unless
     Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to
     Lender, but only so long as Borrower is performing such agreement; (b) contests the Iien in good faith by,

     LOAN 1lO.: 312315                                              Initials .    ~
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     or defends against enforcement of the lien in, legal proceedings which in Lender's opinion operate to prevent
     the enforcement of the lien while those proceedings are pending, but only until such proceedings are
     concluded; or (c) secures from the holder of the lien an agreement satisfactory to Lender subordinating the lien
     to this Security Instrument. If Lender determines that any part of the Property is subject to a lien which can
     attain priority over this Securny Instrument, Lender may give Borrower a notice identifying the lien. Within
     10 days of the date on which that notice is given, Borrower shall satisfy the lien or take one or more of the
     actions set forth above in this Section 4.
          I.ender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting
     service used by Lender in connection with this Loan.

         S. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the
     Property insured against loss by fire, hazards included witlun the tenn "extended coverage," and any other
     hazards including, but not limited to, earthquakes and floods, for which Lender requires insurance. This
     insurance shall be maintained in the autounts (including deductible levels) and for the periods that Lender
     requires. What Lender requires pursuant to the preceding sentences can change during the term of the Loan.
     The insurance carrier providing the insurance shall be chosen by Borrower subject to Lender's right to
     disapprove Borrower's choice, which right shall not be exercised unreasonably. Lender may require Borrower
     to pay, in connection with this Loan, eithar: (a) a one-time charge for flood zone determination, certification
     and tracking services; or (b) a one-tizne charge for flood zone deterntination and certification services and
     subsequent charges each tuae remappings or similar changes occur which reasonably might affect such
     determination or certification. Borrower shall also be responsible for the payment of any fees imposed by the
     Federal Fmergency ivtanagement Agency in connection with the review of any flood zone determination
     resulting from an objection by Borrower.
          If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance coverage,
     at Lender's option and Borrower's expense. Lender is under no obligation to purchase any particular type or
     amount of coverage. Therefore, such coverage shall cover Lender, but might or might not protect Borrower,
     Borrower's equity in the Properry, or the contents of the Properry, against any risk, hazard or liabiliry and
     might provide greater or lesser coverage than was previously in effect. Borrower aclonowledges that the cost of
     the insurance coverage so obtained might significantly exe.eed the cost of insurance that Borrower could have
     obtained. Any amounts disbursed by Lender under this Section 5 shall become additional debt of Borrower
     secured by this Security histrument. These amounts shall bear interest at the Note rate from the date of
     disbursement and shall be payable, with such interest, upon nocice from Lender to Borrower requesting
     payment.
          All insurance policies required by Lender and renewals of such policies shall be subject to Lender's right to
     disapprove such policies, shall include a standard mortgage clause, and shall name Lender as mortgagee and/or
     as an additional loss payee and Borrower furtber agrees to generally assign rights to insurance proceeds to the
     holder of the Note up to the amount of the outstanding loan balance. Lender shall have the right to hold the
     policies and renewal certiftcates. If Lender requires, Borrower shaII promptly give to Lender all receipts of
     paid premiutns and renewal notices. lf Borrower obtains any form of insurance coverage, not otherwise
     required by Lender, for damage to, or destruction of, the Property, such poiicy shall include a standard
     mortgage clause and shall name Lender as mortgagee and/or as an additional loss payee and Borrower further
     agrees to generally assign rights to insurance proceeds to the holder of the Note up to the amount of the
     outstanding loan balance.
          In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may
     make proof of loss if not made promptly by Borrower. UnIess Lerider and Borrower otherwise agree in
     writing, any insurance proceeds, whether or not the underlying insurance was required by Lender, shall be
     applied to restoration or repair of the Property, if the restoration or repair is economically feasible and Lender's
     security is not lessened. Durtng such repair and restoration period, Lender shall have the right to hold such
     insurance proceeds until Lender has had an opportuniry to inspect such Property to lensure the work has been

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     DOCPREP SERI'ICES, INC. FORM-MDOTCAI-3106      Page 6 of 15
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     completed to Lender's satisfaction, provided that such inspection shall be undertaken promptly. Lender may
     disburse proceeds for the repairs and restoration in a single paytnent or in a series of progress payments as the
     work is completed. Un(ess an agreement is made in writing or Applicable Law requires interest to be paid on
     such insurance proceeds, Lender shall not be required to pay Borrower any interest or earnings on such
     proceeds. Fees for public adjusters, or other third parties, retained by Borrower shaU not be paid oat of the
     insurance proceeds and shall be the soie obligation of Borrower. If the restoration or repair is not economically
     feasible or Lender's security would be lessened, the insurance proceeds shall be applied to the sums secured by
     this Security Instrument, whether or not then due, with the excess, if any, paid to Borrower. Such insurance
     proceeds shaII be applied in the order provided for in Section 2.
          If Borrower abandons the Property, Lender rnay file, negotiate and settle any available insurance claim and
     related matters. If Borrower does not respond within 30 days to a notice from Lender that the insurance carrier
     has offered to settle a claim, then Lender may negotiate and settle the clairn. The 30-day period wiu begin
     wben the notice is given. In either event, or if Lender acquires the Property under Section 22 or otherwise,
     Borrower hereby assigns to Lender (a) Borrower's rights to any insurance proceeds in an amount not to exceed
     the amounts unpaid under the Note or this Security Instrument, and (b) any other of Borrower's rights (other
     than the right to any refund of unearned premiums paid by Borrower) under all insurance policies covering the
     Property, insofar as such rights are applicable to the coverage of the Property. Lender may use the insurance
     proceeds either to repair or restore the Property or to pay amounts unpaid under the Note or this Security
     Instnunent, whetber or not then due.

          6. Uccupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal residence
     within 60 days after the execution of this Security Instrument and shall continue to occupy the Property as
     Borrower's principal residence for at least one year after the date of occupancy, unless Lender otherwise agrees
     in writing, which consent shall not be unreasonably withheld, or unless extenuating circumstances exist wluch
     are beyond Borrower's control.

          7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not
     destroy, damage or impair the Properry, allow the Properry to deteriorate or commit waste on the Properry.
     Whether or not Borrower is residing in the Propetty, Borrower shall maintain the Property in order to prevent
     the Property from deteriorating or decreasing in value due to its condition. Unless it is determined pursuant to
     Section 5 that repair or restoration is not economically feasible, Borrower shall prornptly repair the Property if
     damaged to avoid further deterioration or datnage. If insurance or condenmation proceeds aie paid in
     connection with damage to, or the taking of, the Property, Borrower shall be responsible for repairing or
     restoring the Property only if Lender has released proceeds for such purposes. I.ender may disburse proceeds
     for the repairs and restoration in a single payment or in a series of progzess payments as the work is completed.
     If the insurance or condetnnation proceeds are not sufficient to repair or restore the Property, Borrower is not
     relieved of Borrower's obligation for the completion of such repair or restoration.
          Lender or its agent may rnake reasonable entries upon and inspections of the Property. If it has reasonable
     cause, Lender may inspect the interior of the improvements on the Property. Lender shall give Borrower notice
     at the tmie of or prior to such an interior inspection specifying such reasonable cause.

         8. Borrower's Loan Application. Borrower shall be in default if, during the l oan application process,
     Borrower or any persons or entities acting at the direction of Borrower or with Borrower's knowledge or
     consent gave materially false, nusleading, or inaccurate information or statements to Lender (or failed to
     provide Lender with material information) in connection with the Loan. M.at.erial representations include, but
     are not limited to, representations concerning Borrower's occupanc,y of the Property as Borrower's princ9pal
     residence.

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          9. Protection of Lender's Interest in the Property and Rigitts Under this Security Insttvment. If (a)
     Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there is a
     legal proceeding that might signi5cantly affeot Lender's interest in the Property and/or rights under this
     Security Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for
     enforcement of a lien which may attain priority over this Security Instrument or to enforce laws or regulations),
     or (c) Borrower has abandoned the Property, then l.ender may do and pay for whatever is reasonable or
     appropriate to protect Lender's interest in the Property and rights under this Security Instrument, including
     protecting and/or assessing the vaiue of the Property, and securing and/or repairing the Property. Lender's
     actions can include, but are not limited to: (a) paying any sums secured by a lien which has priority over this
     Security Instrument; (b) appearing in court; and (c) paying reasonable attorneys' fees to protect its intereat in
     the Property and/or rights under this Security Instrnment, including its secured positfon in a bankruptcy
     proceeding. Securing the Properry incIudes, but is not limited to, entering the Properry to make repairs,
     change Ioct;s, replace or board up doors and windows, drain water from pipes, eliminate building or other code
     violations or dangerous conditions, and have utzlities turned on or off. Although Lender may take acrion under
     this Section 9, Lender does not have to do so and is not under any duty or obligation to do so. It is agreed that
     Lender incurs no liability for not taking any or all actions authorized under this Section 9.
         Any amounts disbursed by Lender under this Secdon 9 shall become additional debt of Borrower secured
     by this Security Instrument. These amounts shall bear interest at the Note rate from the date of disbursement
     and shalI be payable, with such interest, upon notice from I.ender to Borrower requesting payment.
          If this Security Instrument is on a leasehold, Borrower shatl comply with all the provisions of the lease. If
     Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge unless Lender agrees
     to the merger in writing.

          10. Mortgage Iusurance. If Lender required Mortgage Insurance as a condition o€ making the Loan,
     Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason, the
     Mortgage Insurance coverage required by Iznder ceases to be available from the mortgage insurer that
     previously provided such insurance and Borrower was required to make separately designated payments toward
     the preniiums for Mortgage Insurance, Borrower shatl pay the premiums required to obtain coverage
     substantially equivalent to the Mortgage Insurance previously in effect, at a cost substantially equivalent to the
     cost to Borrower of the Mortgage Insurance previously in effect, from an altemate mortgage insurer selected by
     Lertder. If substantially equivalent Mortgage Insurance coverage is not available, Borrower shall continue to
     pay to Lender the amount of the separately designated payments that were due when the insurance coverage
     ceased to be in effect. Lender will accept, use and reiain these payments as a non-refundable loss reserve in
     lieu of Mortgage Insurance. Such loss reserve shall be non-refundable, notwithstand'mg the fact that the Loan
     is ultimately paid in full, and Lender shall not be required to pay Borrower any interest or eanzings on such loss
     reserve. Lender can no longer require loss resetve payments if Mortgage Insurance coverage (in the amount
     and for the period that Lender requires) provided by an insurer selected by Lender again becomes available, is
     obtained, and Lender requires separately designated paymenta toward the premiums for Mortgage Insurance. If
     Lender required Mortgage Insurance as a condition of making the Loan and Borrower was required to make
     separately designated payments toward the premiums for Mortgage Insurance, Borrower shall pay the premiums
     required to maintain Mortgage Insurance in effect, or to provide a non-refundable loss reserve, until
     I.ender's requirement for Mortgage Insurance ends in accordance with any written agreement between Borrower
     and Lender providing for such termination or until termination is required by Applicable Law. Nothing in this
     Section 10 affects Borrower's obligation to pay interest at the rate provided in the Note.
       ' Mortgage Insurance reimburses Lender (or any entity that purcliases the Note) for certain losses it may
     incur if Borrower does not repay the Loan as agreed. Borrower is not a party to th Mortgage Insurance.

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          Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter
     into agreements with other parties that share or modify their risk, or reduce losses. These agreements are on
     tetms and conditions that are satisfactory to the mortgage insurer and the other party (or parties) to these
     agreements. These agreements may require the mortgage insurer to make payments using any source of funds
     that the mortgage insurer may have available (which may include funds obtained from Mortgage Insurance
     premiums).
         As a result of these agreements, L.ender, any purchaser of the Note, another insurer, any re3nsurer, any other
     entity, or any affiliate of any of the foregoing, may receive (direotly or indirectly) amounts that derive from (or
     might be characterized as) a portion of Borrower's payments for Mortgage Insurance, in exchange for sharing or
     modifying the mortgage insurer's risk, or reducing losses. If such agreement provides that an aftiliate of Lender
     takes a share of the insurer's risk in exchange for a sbare of the premiums paid to the insurer, the arrangement is
     often termed "captive reinsurance. ° Further:
         (a) Any such agreements wda not affect the antounts that Borrower has agreed to pay for Mortgage
     Insurance, or any other terms of the Loan. Such agreements wilt not increase the amount Borrower wt7l
     awe for Mortgage Insurance, and they wgl not entitle Borrower to any refund.
         (b) Any such agreements will not affect the rights Borrower has-if any-w@th respect to the Mortgage
     Insurance under the Homeowners Protection Aet of 1998 or any other law. These rights may inclnde the
     right to receive certain disdosures, to request and obtain canceilation of the Mortgage Insurance, to have
     the Mortgage Insurance terminated automatically, andlor to receive a refund of any Mortgage Insurance
     premiunes that were unearned at the time of such cancellation or tennination.

          11. Assignment of Miscellaneous Proceeds; Forfeitttre. Ail Miscellaneous Proceeds are hereby assigned
     to and shall be paid to L.ender.
          If the Property is damaged, such Misceilaneous Proceeds shall be applied to restoration or repair of the
     Property, if the restoration or repair is economically'feasible and Lender's security is not lessened. During
     such repair and restoration period, I.ennder shall have the right to hold such Miscellaneous Proceeds until
     L.ender has had an opportunity to inspect such Properry to ensure the work has been completed to Lender's
     satisfaction, provided that such inspection shall be undertaken promptiy. Lender may pay for the repairs and
     restoration in a single disbursement or in a series of progress payments as the work is completed. tinless an
     agreement is made in writing or Applicable T.aw requires interest to be paid on such Miscellaneous Proceeds,
     Lender shall not be required to pay BotTower any interest or earnings on such Miscellaneous Proceeds. If the
     restoration or repair is not economically feasible or Lender's security would be lessened, the Miscellaneous
     Proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due, with the
     exeess, if any, paid to Borrower. Such Misoellaneous Proceeds shall be applied in the order provided for in
     Section 2.
         In the event of a total taking, destruction or loss in value of the Property, the Misceilaneous Proceeds shall
     be appfied to the sums secured by this Security Instnunent, whether or not then due, with the excess, if any,
     paid to Borrower.
          In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value
     of the Property irnntediately before the partial tal:ing, desttvtdon, or ioss in value is equai to or greater than
     the amount of the sums secured by this Security Instrument immediately before the partial talang, destruction,
     or loss in value, unless Borrower and Lender otherwise agree in writing, the sums secured by this Security
     Instrument shall be reduced by the atnount of the Miscellaneous Proceeds multiplied by the following fraction:
     (a) the total amount of the sums secured immediately before the partial taking, destruction, or loss in value
     divided by (b) the fair market value of the Properry immediately before the partial taY,ing, destruction, or loss
     in value. Any balance shall be paid to Borrower-

     LOAN NO.: 312315                                                 Inif3ais
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          In the event of a partial raking, destruction, or toss in value of the Property in which the fair tnarket value
     of the Property immediately before the partial taking, destruction, or loss in value is less than the amount of the
     sums secured immediately before the partial taking, destruction, or loss in vaiue, unless Borrower and Lender
     otherwise agree in writing, the Misaellaneous Proceeds shall be applied to_the sums secured by this Security
     Instrument whether or not the sums are then due.

         If the Properry is abandoned by Borrbwer, or if, after notice by Lender to Borrower that the Opposing
     Party (as defined in the next sentence) offers to make an award to settle a ciaim for damages, Borrower fails to
     respond to Lender within 34 days after the date the notice is given, Lender is authorized to collect and apply the
     Miscellaneous Proceeds either to restoration or repair of the Properry or to the sums secured by this Security
     Instrnment, whether or not then due. "Opposing Party" means the third party that owes Borrower
     Miscellaneous Proceeds or the party against whom Borrower has a right of action in regard to Miscellaneous
     Proceeds.
          Borrower shall be in defauSt if any action or proceeding, whether civil or criminal, is begun that, in
     Lender's judgment, could result in forfeiture of the Property or other material impairment of Lender's interest
     in the Property or rights under this Security Instrument. Borrower can cure such a defauit and, if acceleration
     has occurred, reinstate as provided in Section 19, by causing the action or proceeding to be disntissed with a
     ruling that, in Lender's judgment, precludes forfeituse of the Property or other material impairment of Lender's
     interest in the P€operry or rights under this Security Instrument. The proceeds of any award or claim for
     damages that are attributable to the impairment of Lender's interest in the Property are hereby assigned and
     shall be paid to Lender.
          All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied in
     the order provided for in Section 2.

         12. Borrower Not Reteased; Forbesrance By Lender Not a'PVaiver. Extension of the time for payment
     or modification of amortization of the sums secured by this Security Instrument granted by Lender to Borrower
     or any Successor in Interest of Borrower shall not operate to release the liability of Borrower or any Successors
     in Interest of Borrower. I.ender shall not be required to commence proceedings against any Successor in
     Interest of Borrower or to refuse to extend time for payment or otherwise modify amortization of the sums
     secured by this Security Instrument by reason of any demand made by the original Borrower or any Successors
     in Interest of Borrower. Any forbearance by Lender in exercising any right or remedy including, without
     limitation, Lender's acceptance of payments from third persons, entities or Successors in Interest of Borrower
     or in amounts less than the amount then due, shall not be a waiver of or preclude the exercise of any right or
     remedy.

          13. Joint and Several Liability; Co-signers; Succassors and Assigns Bound. Borrower covenants and
     agrees that Borrower's obligations and liability shall be joint and several. However, any Borrower who
     co-signs this Security Instrument but does not execute the Note (a "co-signer"): (a) is co-signing this Security
     Instrument only to mortgage, grant and convey the co-signer's interest in the Property under the terms of this
     Security Instrument; (b) is not personally obligated to pay the sums secured by this Security Instrument; and (c)
     agrees that Lender and any ottler Borrower can agree to extend, modify, forbear or make any accommodations
     with regard to the terms of tlhis Security Instrument or the Note without the co-signer's consent.
          Subject to the provisions of Seetion 18, any Successor in Interest of Borrower who assumes Borrower's
     obligations under this Security Instrument in writing, and is approved by Lender, shall obtain alI of Borrower's
     rights and benefits under this Security Instrument. Borrower shall not be released from Borrower's obligations
     and liability under this Security Instrument unless Lender agrees to such release in writing. The covenants and
     agreements of this Security Instrument shall bind (except as provided in Section 20) and benefit the successors
     and assigns of Lender.

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          14. Loan Charges. Lender may charge Borrower fees for services performed in connection with
     Borrower's defauit, for the purpose of protecting Lender's interest in the Property and rights under this Security
     Instrtunent, including, but not litnited to, attomeys' fees, property inspection and valuation fees. In regard to
     any other fees, the absence of express authority in this Security Instnunent to cbarge a specific fee to Borrower
     shall not be construed as a prohibition on the charging of such fee. Lender may not charge fees that are
     expressly prohibited by this Security Instrument or by Applicabie Law.
          If the Loan is subject to a Iaw which sets maximum loan charges, and that law is finally interpreted so that
     the interest or other loan charges collected or to be collected in connection with the Loan exceed the petznitted
     limits, then: (a) any such loan charge shall be reduced by the amount necessary to reduce the charge to the
     permitted limit; and (b) any sums already collected from Borrower which exceeded permitted limits will be
     refunded to Borrower. Lender may choose to make this refund by reducing the principal owed under the Iv'ote
     or by making a direct payment to Borrower. If a refund reduces principal, the reduction wiIl be treated as a
     partial prepayment without any prepayment charge (whether or not a prepayment charge is provided for under
     the Note). Borrower's acceptance of any such refund made by direct payment to Borrower will constitute a
     waiver of any right of action Borrower might have arising out of such overcharge.

         15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument must be
     in writing. Any notice to Borrower in connection with this Security Instrument shaU be deemed to have been
     given to Borrower when mailed by first class mail or when actually delivered to Borrower's notice address if
     sent by other means. Notice to any one Borrower shall constitute notice to all Borrowers unless Applicable
     Law expressly requires otherwise. The notice address shall be the Property Address unless Borrower has
     designated a substitute notice address by notice to Lender. Borrower shall promptly notify Lender of
     Borrower's change of address. If Lender specifies a procedure for reporting Borrower's change of address,
     then Borrower shall only report a change of address through that specified procedure. There may be only one
     designated notice address under this Security Instrument at any one time. Any notice to Lender shall be given
     by delivering it or by mailing it by first class mail to Lender's address stated herein unless Lender has
     designated another address by notice to Borrower. Any notice in connection with this Security Instrument shail
     not be deemed to have been given to L.ender until actuaUy received by Lender. If any notice required by this
     Security Instrument is also required under Applicable Law, the Applicable Law requirement will satisfy t.he
     corresponding requirement under this Security Instrument.
          16. Governing Law; Severabillty; Rules of Construction. This Security Instrument shall be goveraed by
     federal law and the law o€ the juri.sdietion in which the Property is located. AU rights and obligations contained
     in this Security Instrnment are subject to any requirements and Iimitations of Applicable Law. Applicable Law
     might explicitly or implicitly allow the parties to agree by contract or it might be silent, but such silence shaU
     not be construed as a prohibition against agreement by contract. In the event that any provision or clause of
     this Security Instrument or the Note conflicts with Applicable Law, such conflict shall not affect other
     provisions of this Security Instrument or the Note whieh can be given effect without the conflicting provision.
          As used in this Security Instrument: (a) words of the masculine gender shall mean and include
     corresponding neuter words or words of the feminine gender; (b) words in the singular shaU mean and include
     the plural and vice versa; and (c) the word "may° gives sole discretion without any obligation to take any
     action.

         17. Borrower's Copy. Borrower sball be given one copy of the Note and of this Security Instrument.

          18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18, "Interest
     in the Property" means any legal or beneficial interest in the Properry, including, but not limited to, those
     benefieial interests transferred in a bond for deed, eontract for deed, ffistallment, sales contract or escrow
     agreement, the intent of which is the transfer of title by Borrower at a future date to purchaser.

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         If all or any part of the Properry or any Interest in the Property is sold or transferred (or if Borrower is not
     a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written
     consent, Lettder may require immediate payment in full of all sums secured by this Security Instrument.
     However, this option shall not be exereised by Lender if sucb exercise is prohi'bited by Applicable Law.
          If Lender exercises this option, Lender shall give Borrower notice of acceleration. Tlte notice shall provide
     a period of not less than 30 days from the date the notice is g"tven in accordance with Section 15 within which
     Borrower rnust pay all sums secured by this Security Instrument. If Borrower fails to pay these sums prior to
     the expiration of this period, Lender may invoke any rernedies permitted by this Security Instrument without
     furtlter notice or demand on Borrower.

          19. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions, Borrower
     shall have the right to have enforcement of this Security Instrument discontinued at any time prior to the
     earliest of: (a) five days before sale of the Property pursuant to any power of sale contained in this Security
     Instrument; (b) such other period as Applicable Law might specify, for the termination of Borrower's right to
     reinstate; or (c) entry of a judgment en€orcing this Security Instrument. Those conditions are that Borrower:
     (a) pays Lender aIl sums which then would be due under this Security Instrument and the Note as if no
     acceleration had occurred; (b) cures any default of any other covenants or agreements; (c) pays all expenses
     incurred in enforcing this Security Instrument, including, but not limited to, reasonable attorneys' fees,
     property inspecdon and valuation fees, and other fees incurred for the purpose of protecting Lender's interest in
     the Property and rights under this Security Instrument; and (d) takes such acdon as Lender may reasonably
     require to assure that L.ender's interest in the Property and rights under this Security Instrument, and Borrower's
     obligation to pay the sums secured by this Security Instrument, shall continue unchanged. Lender may require
     that Borrower pay such reinstatement sums and expenses in one or more of the following forms, as selected by
     Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or cashier's check,
     provided any such check is drawn upon an institution whose deposits are insured by a federal agency,
     instrumentality or entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower, this Security '
     Instrument and obligations secured hereby shall remain fully effective as if no acceleration had occurred.
     However, this rigbt to reinstate shall not apply in the case of acceleration under Section 18.

         20. Sa1e of Note; Change of Loan Servicer; Notice of Grievance. The Note or a pardal interest in the
     Note (together with this Security Instrument) catt be sold one or more times without prior notice to Borrower.
     A sale might result in a change in the entity (]rnown as the "Loan Servicer") that collects Periodic Payments due
     under the Note and this Security Instrument and performs other mortgage loan servicing obligations under the
     Note, this Security Instrument, and Applicable Iaw. There also might be one or more changes of the Loan
     Servicer unrelated to a sale of the Note. If there is a change of the Loan Servicer, Borrower wtql be given
     wriiten notice of the change which will state the name and address of the new I,oan Servicer, the address to
     which payments should be made and any other information RESPA requires in connection with a notice of
     transfer of servicing. If the Note is sold and thereafter the Loan is serviced by a Loan Servicer other than the
     purchaser of the Note, the mortgage loan servicing obligations to Borrower will remain with the Loan Servicer
     or be transferred to a successor Loan Servicer and are not assumed by the Note purchaser unless otherwise
     provided by the Iv'ote purchaser.
          Neither Borrower nor Lender may conunence, join, or be joined t.o any judicial action (as eit.her an
     individual litigant or the member of a class) that arises from the other parry's actions pursuant to this Security
     Instrument or that alleges that the other party has breached any provision of, or any duty owed by reason of,
     this Security Instrument, until stich Borrower or Lender has notified the other party (with such notice given in
     compliance with the requirements of Section 15) of such alleged breach and afforded the other party hereto a
     reasonable period after the giving of such notice to take corrective action. If Applicable Law provides a time
     period which must elapse before certain action can be taken, that time period will be deemed to be reasonable
     for purposes of this paragraph. The notice of acceleration and opportunity to cure given to Sorrower pursuant
     to Section 22 and the notice of acceleration given to Borrower pursuant to Section 18 shall be deemed to satisfy
     the notice and opporiunity to take corrective action provisions of this Section 20.

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         21. liazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are those substances
     defined as toxic or hazardous subsiances, pollutants, or wastes by Environmental Law and the following
     substances: gasoline, kerosene, other tlammable or toxic petroleum products, toxic pesticides and herbicides,
     volatile solvents, materials containing asbestos or formaldehyde, and radioactive materials; (b) "Environmental
     Law" means federal laws and laws of the jurisdiction where the Property is located that relate to healrh, safery
     or environmental protection; (c) "Environmental Cleanup" includes aay response action, remedial action, or
     removal action, as defined in Environmental Law; and (d) an "Environinental Condition" means a condition that
     can cause, contribute to, or otherwise trigger an Environmental CIeanup.
          Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous
     Substances, or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do, nor
     aIlow anyone else to do, anything affecting the Property (a) that is in violation of any Environmental Law, (b)
     which creates an Environmental Condition, or (c) which, due to the presence, use, or release of a Hazardous
     Substance, creates a condition that adversely affects the value of the Properry. The preceding two sentences
     shall not appiy to the presence, use, or storage on the Properry of small quantities of Hazardous Substances that
     are generally recognized to be appropriate to normal residential uses and to maintenance of the Property
     (including, but not limited to, hazardous substances 3n consumer products).
         Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, iawsuit . or
     other action by any governmental or regulatory agency or private party involving the Properry and any
     Hazardous Substance or Environmental Law of which Borrower has actual knowledge, (b) any Environmental
     Condition, including but not limited to, any spilling, lealdng, discharge, release or threat of release of any
     Hazardous Substance, and (c) any condition caused by the presence, use or release of a Hazardous Substance
     which adversely affects the value of the Property. If Borrower learns, or is notified by any goverarnental or
     regulatory authority, or any private party, that any removal or other remediation of any Hazardous Substance
     affecting the Property is necessary, Borrower shall promptly take all necessary remedial actions in accordance
     with Bnvironmental Law. Nothing herein shail create any obligaton on Lender for an Environmental Cleanup.

         NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

          22. Acceleration; Remedies. Lender shaII give notice to Borrower prior to acceleration following
     Borrower's breach of any covenant or agreement in this Security Instrument (but not prior to acceleration
     under Section 18 unless Applicable Law provides otherwise). The notice shall specify: (a) the default; (b)
     the action required to cure the default; (c) a date, not less than 30 days from the date the notice is given
     to Borrower, by which the default must be cured; and (d) that failure to cure the default on or before the
     date specified in the notice may result in acceleration of the sums secured by this Security Imstrument
     and sale of the Property. The notice shall further inform Borrower of the right to reinstate after
     acceleration and the right to bring a eourt action to assert the non•eaustence of a default or any other
     dePense of Borrower to acceleration and sale. If the default is not cured on or before the date specified in
     the notice, Lender at its option nzay require immediate payment in full of all sums secured by this
     Security Instrurnent without further deanand and enay invoke the power of sale and any other remedies
     permitted by AppGcable Law. Lender shall be entitled to collect all expenses incurred m pursuing the
     remedies provided in this Section 22, including, but not Eimited to, reasonable attorneys' fees and costs of
     title evidence.
          If Lender invokes the power of sale, Lender shall execute or cause Trustee to execute a writteu notice
     of the occurrence of an event of default and of Lender's election to canse the Property to be sold. Trustee
     shaII cause this notice to be recorded in each eounty in which any part of the Propecty is located. Lender
     or Trustee shall mail copies of the Notice as prescribed by Applicable Law to Borrower and to the other
     persans prescribed by Appiicable Law. Truatee shall give public notice of sale to the persons and in the
     manner prescrMed by Applicable Law. After the time required by Applicabie Law, Trustee, without
     demand on Borrower, shall sell the Property at pubGc auction to the highest bidder at the time and place
     and under the terms designated in the notice of sale in one or more parcels and in any order Trustee
     determines. Trustee may postpone sale of all or any parcel of the Property by public announc:ement at
     the time and place of any previously scheduled sale. Lender or its desfgnee may purchase the Property at
     any sale.

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          Trustee shall deIiver to the purchaser Trustee's deed conveying, the Property withaut any eovenant or
     warranty, expressed or impiied. The recitals in the Trnstee's deed shall be prima facie evidence of the
     truth of the statements made therein. 'MLstee shall apply the procceds of the sale in the following order:
     (a) to all expenses of the sale, including, but not limited t.o, reasonable Traistee's and attorneys' fees; (b)
     to all sams secured by this Security Instrument; and (c) any excess to the person or persons legally
     entitled to it.

         23. Reconveyance. Upon payment of all sums secured by this Security Instrument, Lender shall request
     Trustee to reconvey the Property and shall surrender this Security Instrument and all notes evidencing debt
     secured by this Security Instrument to Trustee. Trustee shall reconvey the Property without warranty to the
     person or persons legally entitled to it. Lender may charge such person or persons a reasonable fee for
     reconveying the Property, but only if the fee is paid to a third party (such as the Trustee) for services rendered
     and the charging of the fee i.s permitted under Applicable Law. If the fee charged does not exceed the fee set
     by Applicable Law, the fee is conclusively presumed to be reasonable,

          7.4. Substitute Trustee. Lender, at its option, may from time to time appoint a successor trustee to any
     Trustee appointed hereunder by azt instrument executed and aclmowledged by Lender and recorded in the office
     of the Recorder of the county in which the Properry is located. The insttvment shall contain the name of the
     origmal Lender, Trustee and Borrower, the book and page where this Security Instrument is recorded and the
     name and address of the successor trustee. Without conveyance of the Property, the succassor trustee shall
     succeed to all the title, powers and duties conferred upon the Trustee berein and by Applicable I.aw. This
     procedure for substitution of trustee shall govern to the exclusion of all other provisions for substitution.

         25. Statement of 4bligation Fee. Lender may collect a feE not to exceed the maximum amount permitted
     by Applicable Law for fumishing the statement of obligation as provided by Section 2943 of the Civil Code of
     California.

         B'Y SIGNING I3ELOW, Borrower accepts and agrees to the terms and covenants eontained ia this
     Security Instrument and in any Rider executed by Borrower and recorded with it.
                                                                              ♦
     W'itnesses:                                       ~                                        %



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                                                                                                              -Borrower

                                                                                                                  (Sea1)
                                                                                                              -Borrower

                                                                                                              _(Seal)
                                                                                                              -Borrower

                                                                                                              _(Seal)
                                                                                                              -Borrower

                                                                                                                   (Se-al)
                                                                                                              -Borrower

                                                                                                              _(Seal)
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     STATfi OF CALIp'ORNIA                                           } SS
     COUNTY OF

     On ~~ ~                        before me, 14r~ ~lz2Q~d'. ~~ "~ /~~G~ personally appeared,
                                                              (Nottry Name and Titie
     DIAIVE WEINSFIEIMEIt
     p                     e(or proved to me on the basis of satisfactory evidence) to be the person(,df whose
     nam    ts/a~~scribed to the within instrtunent and acknowledged to me that~/sheltht~ executed the same
     in /herlth ' authorized capacity(ie~j, and that by lpt~/her/th~Fr signature~'f'on the instnttnent the personS,Q'f,
     or e entity upon behalf of which the personVacted, executed the instrument.


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     LOAN NO.: 312315




                                        REQUEST kY}R RECONVEYANCE
     TO TRUSTEE:
          The undersigned is the holder of the note or notss secured by this Deed of Trust. Said note or notes,
     together wlth all other indebtedness secured by this Deed of Trust, have been paid in full. You are hereby
     directed to cancel said note or notes and this Deed of Trust, which are delivered hereby, and to reconvey,
     without warranty, all the estate now held by you under this Deed of Trast to the person or persons legally
     entitled thereto.
     Dated:
     CALIFORNIA-Single Famity-Fannie Mae/Freddie Mac UNLFORIVI INSTRUMENT - ME1L4                         Form 3005 1/01
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     SECIIRITYNATIOIQAL
     MORTGAGE COMPA2IY
     5300 SOUTH 360 WEST
     SVITE 150
     MURRAY, CTFAH 84123
     AP14 # 932-58-245
     LOAN NO.:     312315
     ESCR.ow # 05326141-28
     TITLE ORDER # 05326141-28




                                             [SPACE ASC?VE RESERVED FOR RECORDER]

                  ATTACHED TO DEED OF TRUST / MORTGAGE DATED: Ot7xs                 27, 2005

     Loan No: 312315

     Property Address:
     5 ENCORE COIIRT; NEi4PORT BBACH, CALIFORNIA 92663


                                                          */. 1'1 -   M
                                                      LEGAL DESCRIPTION




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     Fite No: 05326141



                                     E)CHIBIT aA.,
     AI1 that certain real property situated in the County of Orange, State of
     California, described as follows:

     A CONDOMINIUM COMPRISED OF:

     PARCEL 1:

     Unit 245 of that certain Condominium Project, described in that certain
     Condominium Plan recorded in Book 10791, Page 53 of Official Records, in the
     County of Orange of California (such plan being hereinafter referred to as the
     "Condominium Plan") and as defined in that certain Deciaration of Covenants,
     Conditions and Restrictions for Newport Crest tiomeowners Association recorded
     in Book 10348, Page 693 of Official Records, and in amendment recorded in Book
     10384, Page 461 of Official Records and amendment recorded in Book 10793,
     Page 518 of Official Records, (the Declaration) and in the Declaration of
     Annexation for Lot 4 of Tract No. 7817 (the Deciaration of Annexation) recorded
     in Book 10381, Page 551 of Official Records, in the office of the County Recorder
     of said County.

     PARCEL 2:

     An undivlded 1/104`" interest in and to the Common Area as defined in the
     Declaration and in the Declaration of Annexation, being Lot 4 of Tract No. 7817,
     in the City of Newport Beach, as per map recorded in Book 308, Pages 33 and 34
     inclusive of Miscellaneous Maps, in the office of the County Recorder of said
     County.

      PARCEL 3:

      Exclusive easements appurtenant to said Unit 245 all as more specifically defined
      in the Condominium Plan and the Declaration.

      PARCEL 4:

      A non-exclusive easement to use the Common Area and facilities of the Project
      which have been or will be developed on the following described real property.

      (1) Lot 1 of Tract No. 7852, in the City of Newport Beach, as per map recorded
      in Book 302, Pages 7 to 9 inclusive of Miscellaneous Maps, in the office of the
      County Recorder of said County.

      Except therefrom that portion of land included within Parcel 1 as shown on a map
      recorded in Book 45, Page 26 of Parcel Maps, in the office of the County
      Recorder of said County.




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     (2) Lots 1, 2 and 3 of Tract No. 7817, in the City of Newport Beach, as per map
     recorded in Book 308, Pages 33 and 34 of Miscelianeous Maps, in the office of
     the County Recorder of said County.

     (3) A membership in Newport Crest Homeowners Association owners of record
     of Parcel i as shown on that certain Parcel Map recorded in Book 45, Page 26 of
     Parcel Maps, in the offlce of the County Recorder of said County, known as
     Common Area B, the recreationaf lot.

     Excepting therefrom, however, any and al1 excfusive easements appurtenant to
     all Condominium Units excepting said Unit 245 now or hereafter referred to in
     the Declaration or the Declaration as amended.




     Assessor's Parcel Number:       932-58-245




                                           Page 4
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                                                              [SPACE ABOVE RESERVED FOR RECORDERj

                              FIXED/ADJLJSTABLE RATE RIDER
                  (LIBOR One-Year Index (As Published in The Wall Street Journal) - Rate Caps)

         THIS FIXED/ADdUSTABLE RATE RIDER is made this 27TH day of JUNE                                  ,   2005,
     and is incorporated into and shall be deemed to amend and supplement the Mortgage, Deed of Trust, or Security
     Deed (the "Security Instrurnent") of the same date given by the undersigned ("Borrower") to secure Borrower's
     FixedJAdjustable Rate Note (the "Note") to
     SECURITYNATIONAL MORTGAGE COMPANY A UTAH CORPORATION

     ("Lender") of the same date and covering the properry described in the Security Instrument and located at:
     5 ENCORE CO[IItT
     NEWPORT BEACH, CALIFORNIA 92663
                                                     (Property Address)

         THB NOTE PROVIDES FOR A CIiANGE IN BORROWER'S FIXED INTEREST RATE TO
         AN ADJUSTABLE INTEREST RATE. THE NOTE LIMITS THE AMOUNT BORROWER'S
         ADJUSTABLE INTEREST RATE CAN CHANGE AT ANY ONE TIME AND THE MAXIMUM
         RATE BORROWER MUST PAY.

          ADDITIONAL COVENAr'TS. In addition to the covenants and agreements made in the Security
     Instrument, Borrower and Lender further covenant and agree as follows:

     A. ADJUSTABLE RATE AND MONTIII.Y PAYME_NT CHANGES
          The Note provides for an initial fixed interest rate of        6.125 %. The Note also provides for a change in
     the initial fviced rate to an adjustable interest rate, as follows:
     4. ADJUSTABLE INTEREST RATE AND MONTHLY PAYM.ENT CHANGES
         (A) Change Dates
         The initial fixed interest rat.e I will pay will change to an adjustable interest rate on the first day of
      JULY                     , 2010 , and the adjustable interest rate I will pay may change on that day every
     12th month thereafter. The date on which my initial fixed interest rate changes to an adjustable interest rate,
     and each date on which my adjustable interest rate could change, is called a"Change Date."
         (B) The Index
          Beginning with the first Change Date, iny adjustable interest rate will be based on an Index. The "Index" is
     the average of interbank offered rates for one-year U.S. dollar-denominated dep sits in the London market
     ("LIBOR"), as published in The Wati Street Journal. The rnost recent Index figur available as of the date 45
     days before eaclt Change Date is called the "Current Index."
         LOAN NO.: 3I2315                                                 Initials
     iVECtZTISTATE FI3LED/ADJUSTABLE RATE tLIDER-WSJ One-Year LffiOR-Single Family-IN1ERkS"f ONLY
     FE-4265 tozo4)                                    Page 1 of 3
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Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 49 of 70 Page ID #:54




         if the Index is no longer available, the Note Holder wID choose a new index that is based upon comparable
     information. The Note Holder will give me notice of this choice.
          (C) Caleulation of Changes
          Before each Change Date, the Note Holder will calculate my new interest rate by adding
     TWO Alv'D 250/1000                   percentage points (      2.250 %) to the Current Index. The Note Holder
     will then round the result of this addition to the nearest one-eighth of one percentage point (0.125 %). Subject
     to the limits stated in Section 4(D) below, this rounded amount will be my new interest rate until the next
     Change Date.
          The Note Holder will then determine the amount of the monthly payment that would be sufficient to repay
     the unpaid principal that I am expected to owe at the Change Date in full on the Maturity Date at my new
     interest rate in substantially equal payments. The result of this caiculation will be the new amount of my
     monthly payment.
          (D) Limits on Interest Rate Changes
          The interest rate I am required to pay at the first Change Date wdl not be greater than  11.125     % or
     less than      2.250        %. Therea8er, my adjustable interest rate will never be inereased or deareased on
     any single Change Date by more than two percentage points from the rate of interest I have been paying for the
     preceding 12 months. My inierest rate will never be greater than        11.125        %.
          (E) E[fective Date of Changes
        My new interest rate will become effective on each Change Date. I will pay the amount of my new
     monthly payment beginning on the fust monthly payment date after the Change Date until the amount of my
     monthly payment changes again.
          (F) Notice of Cltanges
         The Note Holder will deliver or mail to me a notice of any changes in my initial fixed interest - rate to an
     adjustable interest rrate and of any changes in my adjustable interest rate before the effective date of any change.
     The notice will include the amount of my monthly payment, any information required by law to be given to me
     and also the title and telephone number of a person who will answer any question I may have regarding the
     notice.

     B. TRANSFER OF THE PROPERTY OR A BENEP'ICIAL INTEREST IN BORROVN'ER
     1. Until Borrower's initial fixed interest rate changes to an adjustable interest rate under the terms stated 'ut
     Section A above, Uniform Covenant 18 of the Security Instrument shall read as follows:
               Transfer of the Property or a Beneficial Interest In Borrower. As used in this Section 18,
          "Interest in the Property" means any legal or beneficial interest in the Properry, including, but not
          limited to, those beaeficial interests transfened in a bond for deed, contract for deed, installment sales
          contract or escrow agreement, the intent of which is the transfer of title by Borrower at a future date to
          a purchaser.
               If all or any part of the Property or any Interest itt the Property is sold or transferred (or if
          Borrower is not a natural person and a beneficial interest in Borrower is sold or transferred) without
          Lender's prior written consent, Lender may require immediate payment in fuIl of all sums secured by
          this Security Instrument. However, this option shall not be exercised by Lender if such exercise is
          prohibited by Applicable Law.
               If I.ender exercises this option, Lender shall give Borrower notice of acceleration. The notice
          shall provide a period of not iess than 30 days from the date the notice is given in accordance with
          Section 15 within which Borrower must pay ali sums secured by this Security Insmunent. If Borrower
          fails to pay these sums prior to the expiration of this period, Lender may ' voke any remedies
          permitted by this Security Instrument without further notice or d       d on Borro er.
     F.OAN NO.: 312315                                                 Inftia.ts

     MULTISTATE FI7►BI?IAIDJUSTABLL RATE RII)ER-ws7 one-Year LIBOR-Single Family-lIVTERF,ST ONLY
     FE-4266 (ozoa)                                 Page 2 of 3
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Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 50 of 70 Page ID #:55




     2. When Borrower's initial fixed interest rate changes to an adjustable interest rat.e under the terms stated in
     Section A above, Uniform Covenant 18 of the Security Instrument deseribed in Section B1 above shall then
     cease to be in effect, and the provisions of Uniform Covenant 18 of the Security Instrument shall be amended to
     read as follows:
              'pransfer of the Property or a Beneficial Interest in Borrower. As used in this Section IB,
         "Interest in the Property" means any legat or beneficial interest in the Properry, including, but not
         limited to, those beneficial interests transferred in a bond for deed, contract for deed, installment sales
         contract or escrow agreement, the fntent of which is the transfer of title by Borrower at a future date to
         a purchaser.
              If all or any part of the Property or any Interest in the Property is soid or transferred (or if
         Borrower i.s not a natural person and a beneficial interest in Borrower is sold or transferred) without
         Lender's prior written consent, Lender may require immediate payment in full of all sums secured by
         th4s Security Instrument. However, this option shall not be exercised by Lender if such exercise is
         prohibited by A.pplicable Law. Lender also shall not exercise this option if: (a) Borrower causes to be
         submitted to Lender information required by Lender to evaluate the intended transferee as if a new Ioan
         were being made to the transferee; and (b) Lender reasonably determines that Lender's security wilI not
         be iinpaired by the loan assumption and that the risk of a breach of any covenant or agreement in this
         Security Instrument is acceptable to Lender.
               To the extent permitted by Applicable Law, Lender may charge a reasonable fee as a condition to
         Lender's consent to the loan assumption. Lender also may require the transferee to sign an assumption
         agreement that is acc:eptable to I.ender and that obligates the transferee to keep all the prontises and
         agreements made in the Note and in this Security Instrument. Borrower will continue to be obligated
          under the Note and this Security Instrument unless Lender releases Borrower in writing.
               If Lender exercises the option to require itnmediate payment in full, Lender shall give Borrower
          notice of acceleration. The notice shall provide a period of not iess than ' 30 days from the date the
         notice is given in accordance with Section 15 wit.hin which Borrower must pay all sums secured by this
          Security Instrument. If Borrower faiIs to pay these sums prior to the expiration of this period, Lender
          may involce any remedies permitted by this Security Instrument without further notice or demand on
          Borrower.




        BY SIGND\G BELOW, Borrower accepts and agrees to the terms and covenants contained in this
   IAdjustable Rat Rider. `
                                                  ~


                                                       ( ea1)                                                   (Seal)
                                                  -Borrower                                                 -Borrower
      DIANE IVEINSSEIlV1EIt


                                                      (Seal)                                                    (Seal)
                                                  -Borrower                                                 -Borrower
                                                                                                    (Sign or;g;W onIy)




      MUI.TISTATE £IA'ED/ADJUSTABLE RATE RIDER-WSJ One-Year LIBOR-Sirtgle Fartaly-INTE.RF.Sr ONLY
      FE4266 (o2o4)                                       Page 3 of 3
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          THIS CONDOMIIML112 RIIDER is made this 27TH day of JUNE                               , 2005 , and is
     incorporated into and shall be deemed to amend and supplement the Mortgage, Deed of Trust, or Security Deed
     (the "Security Instrument") of the same date given by the undersigned (the 'Borrower") to secure Borrower's
     Note to
     SECURITXNATIOriAL MORTGAGE COMPANY, A UTAH CORPORATION

     (the "Lender") of the same date and covering the Property described in the Security Instrument and located at:
     5 ENCORE COURT
     NEWPORT BEACH CALIFORi+JIA 92663
                                                     [Property Address)
     The Properry includes a unit in; together with an undivided interest in the common elements of, a condonunium
     project known as: NEWPORT CREST
                                               [Name of Condomininm Project]
     (the "Condominium Project"). If the owners association or other entiry which acts for the Condominium
     Project (the "Owners Association") holds tirle to properry for the benefit or use of its members or shareholders,
     the Property also includes Borrower's interest in the Owners Association and the uses, proceeds and benefits of
     Borrower's interest.

          CO1V'DOMLNILTl~1 COVENANTS. In addition to the covenants and agreements made in the Securiry
     Instrurnent, Borrower and Lender further covenant and agree as follows:
          A. Condominittm Obligations. Borrower shall perform all of Borrower's obligations under the
     Condominium Project's Constituent Documents. The "Constituent Documents" are the: (i) Declaration or any
     other docwnent which creates the Condominium Project; (ii) by-laws; (iii) code or regulations; and (iv) other
     equivalent documents. Borrower shall promptly pay, when due, all dues and assessments imposed pursuant to
     the Constituent Docuinents.
          B. Property Insurance. So long as the Owners Association maintains, with a generally accepted
     insurance carrier, a"master" or "blanket" policy on the Condominium Project which is satisfactory to I.ender
     and which provides insurance coverage in the amounts (including deductible levels), for the periods, and
     against loss by fire, hazards included within the term "extsnded coverage," and any other hazards, including,
     but not Iimited to, earthquakes and floods, from which L.ender requires insurance, then:
            (i) L.ender waives the provision in Section 3 for the Periodic Payment to Lender of the yearly
     premium installments for properry insurance on the Properry; and
             (ii) Borrower's obligation under Section 5 to maintain property insurance coverage on the Property
     is deemed satisfied to the extent that the required coverage is provided by the Owners Association policy.
          What [,ender requires as a condition of this waiver can change during the term of the loan.
          Borrower shall give I.ender prompt notice of any lapse in required property insurance coverage provided
     by the master or blanl:et poliey.

          LOAN NO.: 312315                                           Initials
     MCtLTISTATE CONDOMINiUM R1DER-Single Famity-Fannie Mae/Freddie Mac LANIFORM INSTRUAfENT Form 3140 1/01
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                                                 ORIGINAL
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          In the event of a distn'bu6on of property insurance proceeds in lieu of restoration or repair following a loss
     to the Property, whether to the unit or to common elements, any proceeds payable to Borrower are hereby
     assigned and shall be paid to Lender for application to the stuns secured by the Security Instrument, whether or
     not then due, with the excess, if any, paid to Borrower.
         C. Public Liability Insarance. Borrower shall take such actions as may be reasonable to insure that the
     Owners Association maintains a public liability insurance policy acceptable in form, amount, and ext.ent of
     coverage to Lender.
          D. Condemnation. The proceeds of any award or' claim for damages, direct or consequential, payable to
     Borrower in connect.ion with any condemnation or other talcing of all or any part of the Property, whether of
     the unit or of the common elements, or for any conveyance in lieu of condemnation, are hereby assigned and
     shall be paid to I.ender. Such proceeds sball be applied by Lender to the sums secured by the Security
     Instrument as provided in Section 11.
          E. Lender's Prior Consent. Borrower shall not, except after notice to Lender and with L,ender's prior
     written consent, eitfter partidon or subdivide the Property or consent to:
              (i) the abandonment or termination of the Condominium Pro}ect, except for abandonment or
     termination required by law in the case of substantial destruction by fire or other casualty or in the case of a
     taking by condemnation or eminent domain; .
              (ii) any amendment to any provision of the Constituent Documents if the provision is for the expiess
     benefit of Lender;
              (in) termination of professional management and assumption of self-management of the Owners
     Association; or
             (fv) any action which would have the effect of rendering the public liability insurance coverage
     maintained by the Owners Association unacceptable to Lender.
         F. Remedies. If Borrower does not pay condominium dues and assessments when due, then Lender may
     pay them. Any amounts disbursed by Lender under this paragraph F shall become additional debt of Borrower
     secured by the Security Instrument. Unless Borrower and Lender agree to other tenus of payment, (bese
     amounts shall bear interest from the date of disbursement at the Note rate and shall be payable, with interest,
     upon notice from Lender to Borrower requesting payment.

        BY SIGNING BELOW, Borrower accepts and agrees to the terms and provisions contained in this
     Condominium R.ide



                                                       (Seal)                                                     (Seal)
                                                    -Borrower                                                  -Borrower
     DIANE WEINSIIQMER

                                                       (Seal)                                                      (Seal)
                                                    -Borrower                                                   -Borrower


                                                       (Seal)                                                      (Seal)
                                                    -Borrower                                                   -Borrower




     LOA.N NO.: 312315

     h4[JLTISTATE CONDOMINIUM RLDER-Sing(e Famity-Bannie Mae/Fredaie Mac UNIFORM IIVSTRUMFENT Form 3140 1/01
     DOCPRL•P+SERVICES INC FoRM •MS316UN•35o6     Pege 2 af 2
                                                  ORIGINAL
Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 53 of 70 Page ID #:58




                                                 SEC®ND H®ME liII3ER

          'CHIS SECOND HOME RIDER is made this 27TH day of                 JUNE                , 2005 , and is
     incorporated into and shall be deemed to amend and supp1ement the Mortgage, Deed of Trust, or Security Deed
     (the "Security Instrument") of the same date given by the undersigned (tite "Borrower," whether there are one
     or more persons undersigned) to secure Borrower's Note tD
     SECURITYNATIONAL MORTGAGE COMPANY, A UTAIi CORPORATION

     (the "Lender") of the same date and covering the Property described in rhe Security Instrurnent (the "Property"),
     which is located at_
     5 ENCf3RE COURT
     NEWPORT BEACH, CALIFORNIA 92663
                                                          [Property Address]
          In addition to the covenants and agreements made in the Security Instrument, Borrower and Lender further
     covenant and agree that Sections 6 and 8 of the Security Instrument are deleted and are replaced by the
     foilowing;
          6. Occupancy. Borrower shall occupy, and shall only use, the Property as Borrower's second home.
     Borrower shall l:eep the Property available for Borrower's ezclusive use and enjoyment at all times, and shall
     not subject the Properry to any timesharing or other shared ownership arrangement or t.o any rental poo3 or
     agreement that requires Borrower either to rent the Property or give a management firm or any other person any
     control over the occupaney or use of the Property.
          S. Borrower's Loan Appiication. Borrower shall be in default if, during the Loan application process,
     Borrower or any persons or entities acting at the direaion of the Borrower or with Borrower's lmowledge or
     consent gave materially false, misleading, or inaccurate information or statements to I.ender (or failed to
     provide Lender with material information) in connection with the Loan. Material representations include, but
     are not limited to, representations conceming Borrower's occupancy of the Property as Borrower's second
     home.

          BY SIGNING BELOW, Borrower accepts and agrees to the terms and provisions contained in this Second
     Home Rider,
                                    ♦                •
           .

                                         &4
                                                            (5eal)                                              (Seal)
                                                         -Borrower                                           -Borrower
     DIANE WEINBIiEIMER

                                                            (Seal)                                              (Seal)
                                                         -Borrower                                           -Borrower


                                                            (Seal)                                              (Seal)
                                                         -Borrower                                           -Borrower


     LOA-N NO.: 312315
     MULTISTATE SECONiD IiOME R1DER-Single Famity- Fawie MaelFYeddie Mac [JNIFORM INSTRUMENT            Form 38901/01
     Z.}ocPREP ,SERVICES, rNC. FORM - MS3890N-35o3
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Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 54 of 70 Page ID #:59




  1                                     ~                         ~
  ~           ♦ ■~                                                ~.
      Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 55 of 70 Page ID #:60

          LANDSAFE TtTLE                                             Recorded in Offtclal Reconis, orange County

         RECORDING REQUESTED BY:                                     Torn Daly, Clerk Recorder
         RECONTRUST COMPANY                                          I           I I1111111 111111N1111111 I           18.00
         AND WHEN R.ECORDED MAIL DOCUMENT
                                                                           2010000234986 08:00am 05/19/10
         AND TAX STATEMENTS TO:
                                                                     66 406 57 S A32 c
~ >      RECONTRUST COMPANY
                                                                     0.00 0.00 0.00 0.00 0.00 0.00 0.00 0.00
         1800 Tapo Canyon Rd., CA6-914-01-94
         SIMI VALLEY, CA 93063

         ATTN: Shaun Wicks
         TS No. XX-XXXXXXX
           1 o-'S -- oi.~("Q C,- ":)-
                SUBSTITUTION OF TRUSTEE AND ASSIGNMENT OF DEED OF TRUST
         The undersigned MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., (hereina8er referred to
         as Beneficiary) is the Beneficiary of that certain Deed of Trust dated 06/27/2005, executed by DIANE
         WEINSHEIMER, AN UNMARRIED WOMAN, Trustor, to LAWYERS TITLE COMPANY, as Trustee, and
         recorded as Instrument No. 2005000510215 on 06/30/2005, of Official Records in the County Recordet's
         Office of ORANGE County, Califocnia. NOW THEREFORE, Beneficiary hereby substitutes
         RECONTRUST COMPANY, N.A., WHOSE ADDRESS IS:1800 Tapo Canyon Rd., CA6-914-01-94, SIMI
         VALLEY, CA 93063 , as Trustee under said Deed of Trust herein referred to, in the place and stead of and
         with all rights, iitle, powers, and interest of the former trustee described above.

        _ FOR VALUE RECEIVED, the undersigned hereby grants, assigns, conveys.and transfers to THE BANK OF -.
          NEW YORK MELLON FKA THE BANK OF NEW YORK AS TRUSTEE FOR THE
          CERTIFICATEHOLDERS OF CWMBS2005-IiY135 all beneficial interest under that certain Deed of Trust
          described above. Said descr'bed land: "As more fully described in the above referenced Deed of "rrust "
          Together with the note or notes therein described or referred to, the money due and to become due thereon
          with the interest, and all rights accrued or to accrue under said Deed of Trust.




          DATED: May 06, 2010                               MORTGAGE ELECTItONIC REGISTRATION
                                                            SYSTEMS, INC.

                         CALIFOF~flt{A
         State of:                                   } BY:iTM2A.~ ~~ Q I
         County of          VEN7URA                  }
                                                            T. Sevillano, Assistant Secretary
         OnMAY 1 1 2010 before me                AHMAp AFZQl•              , notary public, personally appeared
                                    T.                               who proved to me on the basis of satisfactory
         evidence to be the person(s) whose name(s) is/are subscribed to within instrument and acknowledged to me that
         helshe/they executed the same in his/her/their authorized capacity(ies), and that by his/lier/their signature(s) on
         the instrument the person(s), or the entity upon behalf of which the person(s) acted, executed the instrument.

         I certify under PENALTY OF PER3URY under the laws of the State of Califotnia that the foregoing paragraph
         is true and correct.

         WITNESS my hand and official seal.
                                                                                                                          AHMAD AFZAL
                                                                                              r 6               +sz-     CnMM. # 1744009
         Signature           ~~                                        .      (Seal)          z : '~:e                 NaTARY P~BUC - CALIE4RNIA z
                                                                                                                                                 ~
         Notary Public s Signature -A MAi~ AFZAL                                                           '                VENT~IRA COUNTY
                                                                                                               ` t~ly Gomir.. Ex;, t^s May 7. 2011


                                                                                                                 Form subasgmmnt (01/09)
Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 56 of 70 Page ID #:61
Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 57 of 70 Page ID #:62




     Recording Requested By:
     Bank of America
     Pnpared By: Mary Ann Hferman                        Recorded in OfFicial Records, Orange County
   ~ 450 E. Boundary St.                                 Tom Daly, Clerk-Recorder
     Chapin, SC 29036                                   1[IIA1PnI(II0 16111E6iM Ell IEl[II RIlJ1f611111111111M 12.00
    888-603-9011
    When recorded mail lo:                                 2011000562208 8:01 am 11/07i11
    CoreLogic                                            47 412 A32 2
    430 E. Boundary St.                                  0.00 0.00 0.00 0.00 3.00 0.00 0.00 0.00
    Attn: Release Dept.
    Chapin, SC 29036

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    Doc1D#         5919466410713407
    Property Address:
    5 Encore Ct
    Newport Beach, CA 92663-2364
    CAo-r,Dr 1573S427 --- 10/52011J                                                  This cpnce fvr Recoida's ~




                                        ASSIGNMENT OF DEED OF TRUST
    For Value Received, the undersigned holder of a Deed of Trust (herein "Assignor") whose address is 3300 S.W. 34th
    Avenue, Suite 101 Ocala, FL 34474 does hereby grant, sell, assign, transfer and convey unto THE BANK OF NEW
    YORK 1VIELLON FKA THE BANK OP NEW YORK,AS TRUSTEE FOR THE CERTIFICATEIIOLDLRS OF
    THE CWMBS INC., CHL MORTGAGE PASS-THROUGH TRUST 2005-HYB5, MORTGAGE PASS
    THROUGIi CERTIFICATES, SERIES 2005-HYBS whose address is 101 BARCLAY ST - 4W, NEW YORK ,N'Y
    10286 all beneficial interest under that certain Deed of Trust described below together with the note(s) and obligations
    therein described and the money due and to become due thereon with interest and all rights accrued or to accrue under said
    Deed of Trust.
     Original Lender:                  SECURITYNATIONAL MORTGAGE CO;VIPANY, A UTAH CORPORATION
     Original Bonower(s):              DIANE WEINSHEIMER, AN UNMARRIED WOMAN
     Original Trustee:                 LAWYERS TITLE COMPANY
     Date of Deed of Trust:            6/27/2005
     Original Loan Amount:             $640,000.00
    Recorded in Orange Connty, CA on: 6l30/2005, book N/A, page N!A and instrument number 2005000510215
    IN WITNESS VdHEREOF, the undersigned has caused this Assignment of Deed of Trust to be executed on


                                                            MORTGAGE ELECTRONIC REGISTRATION SYSTEMS,
                                                            INC.


                                                            By:
                                                            Pabla ZunEga, AssistliAt Secretary
Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 58 of 70 Page ID #:63




       State of California
       CotAiity of Ventura
   ~
       on /D 0— aDl ~ before me,                                                     Notary Public, personally appeared
       Pabla Zuniga, who proved to me on the basis ofsatisfactory evidence to be the person(4 whose nameo is/ym-
       subscribed to the within instrnment and acknowledged to me that ~Elshe(~e9 executed the same in WAer/tlayif
       authorized capacitykig}, and that by K/herUeit signature(4 on the instrument the person(/, oT the entity upon
       behalf of which the person(/acted, executed the instrument.

       1 eertify under PENALTY OF PERJURY under tbe laws of the State of California that the foregoing
       paragraph is true and correct.                                         &~
                                                                                    iRMA OIAZ
       WITTIBSS my hand and official seai.                                    Commission  # 1903988
                                                                              Notary Public • Calttornia ~
                                                                                  Vsntura county         -•
                                                                                   M Comm       tres Se 13.204
                                                                       Le
       Notary blic:                 \                              (Seal)
       My Commission Expires




       Doc]D#          5919466410713407
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Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 60 of 70 Page ID #:65
                                                                     Recorded in Official Records, Orange County
                                                                     Hugh Nguyen, Cterk-Recorder

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     LR Department (Cust# 610)
     4000 W Metropolttan Dr Ste.400
     Orange, CA 92868

                                             Space above for Recordor's use

     CLLSt6tnerjJ:610J3   Scrvice#:.4126817AS1 I I,I                                                   +
     i..oanN:.0515396994
                           A,SS&GNIYIENT f}F DEED OF TRUST
     FOR VALUE RECLIVED, THE BANKF                .O NEW YORK MELLON FKA THE BANK OF NEW YORK,
     AS TRUSTEE FOR THE CEItTIFICA'TEHOLDERS OF CWMBS 2005-HYB5 BY NEW PENN
     FINANCIAL LLC 13BAS11ELLPOINT MOItTGAGE SERVICING AS ATTORMEY 1PI FAC'f, C!O
     NEW PEN1V FIIVANCIAL.LLC D/BJA SIEELLPOINT MTG SERVICING, 55 BEATTIE PL #1101
     GREENVILLE, SC 29601-0000, her+eby assign and transfer to THE BANK OF NEW VORK MELLON
     FKA THE BANK OF NEW VORK, AS TRUSTEE FOR THE CERTIFICATEHOLDERS OF THE
     CWMBS INC., CtIL MORTGAGE PASS-THROUGH TRUST 2005-HYBS, MORTGAGE PASS
     THRO.UGH CERTlFICATES, SERIES 2005-HYB5 C/O..NEW PENN l+INANCIAL, LLC, D/B/A
     SHELLPOINT 1VtORTGAGE SERVICING, 53 BEATTIE PL STE I10; MS 0001, GREENYILLE, SC
     29601-0000, all its righl, title and interest in and to said Deed ofTrust in the amount ofSfi40,000.00., recorded in
     the State of CALI FORN IA, County of ORANG        E Official Records, dsted JUNE 27, 2005 and recorded on
     JUNE 30, 2005, as lnstrument No. 2005000510215, in Book No. =--; at Page No.
     Executed by DIANE WEINSHEIMER, AN UNMARItIED WOMAN; as tnsstors, LAWYERS TITLE
     COMPANY, as trustee and, MURTGAGE ELECTRONIC.REGISTRATION SYSTEMS, iNC.: AS
     NOMIIYEE FOR SECURITYNATIONAL MORTGAGE COMPANY, t'I'8 SUCCESSORS AND
     ASSIGNS as the original berteficiary. Legal Description: Ao more Pidly described in aa[d Deed ofTrust.
Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 61 of 70 Page ID #:66
.   .                                                                                                                    .



        Loanft: 0515396994           Srd#: 4I2681[7AS[
        Fage Z


        Date:
        THE BA]UIK-OF NEW YORK MELLON FKA THE BANK OF NEW YORK, AS TRUSTEE FOflt THE
        C.ERTIFICATEHOL99ERS OF CWMBS Z005-HYBS BY NEW PENN FI;NANCIAL LLC ABA
        SHELLPOINT MOEiTGAGE SERVIC[NC AS A'i"!'ORNEY IN FACT



        By:
           Christieu Hoopas, Senlo'rvktctor
        State of     90UTH CAROLINA                          }
        County of    GREENVILLE

        On ~3 t~                  _. beforc me, Bern6ta S. Hallums, a idotary !'ublic, personaily appeared Christian
        Haopes , who proved to me on the basis_of satisfactory evidence to be the person(a) whose aame(s) Sslare
        subscribed to the within. instrument and ackstowledged to me that helahehhey executed the same iti hislherltheir
        euthoriced capacity(ies) and that by his/herliheir signaturc(s) on the instrurnent the peraon(s), or the entity upon
        behalf of which the persoa(s) acted, executed the instruinent.
        Witness.niy hand and officiat seal.



                                                                            ~~~aarrapr
        (Notary Name): Bernita S. Hatlums
        My conunission expines: 09f04/2024                           ~+~` ~'~P • •,,,<<(~~,,y
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Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 63 of 70 Page ID #:68
                                                                      Recorded in Off'icial Records, Orrange County
                                                                      Hugh Nguyen, Clerk-Recorder

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      Oid Repubtic Default lYtanagement Serviaes

      AND WHFN RECOItDED MAII. TO:

      Ncw Penn Financial, LLC d/b/a
      ShetipointMortgage Servicing
      55 BEATTIE PLACE
      SUTTE 110 2v1AIL STOP 005
      GREEh1VILLE, SC 29601


                                                                                     SPACC A30VH'ndlS L[NE FORRCCORDER'S USE
      APN: 932-582-045 'I'S No.:14-5Z694 TSG OrderNo : 02-14024644 Loan No: 0515396994
                                       SU]BSTITUTIOloi OF TRUSTEE
              WHEiREAS, DTANE WEINSHEIMER, AN UNMARRiED WOMAN was the original TnLstor,
      LAWYERS T1TLE COMPANY was the orlgina! Trustee, and MORTGAGE ELECTRON[C
      REGISTRe1TION SYS3'EMS,INC., AS NOMINEE FOR SECURITYNATIONrtL MOFtTGAGE
      COMPANY, A UTAS CORPORATION was the original Beneficiary under that certain Dced of Trust dated
      6127/2005 and recorded on 6/30J2005 as InstrumentNo. 2005000510215, in Book—, Page — of Official Records
      of Oran;e County, California, and
              WHEREAS, the undersigned is the present $eneficiary under said Deed of Trust, and
               WAEItEAS, the undersigned desires to substitute a new Trustee under said Deed of Trust in place and
      instead of said original Taistee, or Successor Ttustee, thereunder, in the manner in said Deed of Trust provided,
            NO'4'V, THEREFORE, the undersigned hereby substitutes Old Republic Nntionnl Tittle Insurance
      Compnny, as Tnutee under said Decd of Tmst.

      Whenever the context hereof so re.quires, the mascuiine gender includes the feminine and/or neuter, and the singular
      number includes the plutal.
Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 64 of 70 Page ID #:69




      T5 No.:14-52694
      Loan Number: 0515396994
                                                              Substitntion ofTnistee
      Taated: ~~®                                    Nev Penn Financial, LLC d/b/a Shetlpoint Martgage Scrvicing as servicer
                                                     for, THE SAMC OF NEW YORK M.ELLON FKA THL BANK OF NEW
                                                     YORK,AS TRUSTEB FOR THE CERTIFI:CATEHOLDERS OF THE
                                                     CR'MBS INC., CHL MORTGAGE PASS-THROUGH fiRUST 2045-
                                                     .HYSS, MORTGAGE PASS THROUGH CERTCFICATES, SERIES 2005-
                                                     HYBS




                                                     Titte:

      A notary public or other officer comple6ng this certificate
      verifies onty the fdentity of the individual who signed the
      document, to ivhich this certificate is attached, and not the
      truthfulness, accuracy, or validity of that document


      STATE of ~
               SC Gt S
      COUNTY of kl,/,► eF/t 5

      Before me, Af                ,t r-w Q~/x ~'~ f l"1 ~?_ , the undersigned offioer, on this, the 6 day
                               (insert name of notary)
      of                             , 2U~, personaily appeared _            I~L~~ Lv~ L U' y                     ,
                                                                                (insert namd af signer)
      4own to me or, o through production of                                                              as identification, who
      identified her/himself to be the~                            e.►r ~ C. '           of New Penn Financial LLC DBA
      Shellpoint Mortgage Servicing, the person and officer wbose name is subscnbed to the foregoing
      instrument, and being authorized to do so, actcnowledged that (s)he had executed the foregoing instrument
      as the act of such eorporation for the purpose and consideration described and in the capacity stated.


      (seal)



                                                                              (Type3r`0ini uame bal
                                                                              Notary Pnblic, State of
                                                                              Commission No.: _
      o4a~!4~, ti   SOPEiIA MARTINEZ                                          My Commission Expiri
     =2+~N'              Notary tyubiic
                        STATE OF TEXAS
                    Mp Comm, Fxp. January 2E, 2019
Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 65 of 70 Page ID #:70
Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 66 of 70 Page ID #:71
                                                                           Recorded in Official Records, Orange County
                                                                           Hugh IVguyen, Clerk-Recorder

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   RECORDING REQUESTED BY:



   WHEN RECORDED. MAIL TO:

   TRUSTEE CORPS
   97100 GilletteAve
   Irvine, CA 92614



   APN: 932-582-45                                    TS No: CA08003185-15-1-FT                                                        TO No: 02-15036669

                                                SUBSTITUTION OF TRUSTEE
   WHEREAS, DIANE WEINSHEIMER, AN UNMARRIED WOMAN was the original Trustor(s), LAWYERS TITLE COMPANY
   was the original Trustee and MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. as nominee for
   SECURITYNATIONAL MORTGAGE COMPANY, A UTAH CORPORATION, its successors and assigns, was the orEgina!
   Beneficiary under that certain Deed of Trust dated June 27, 2005 and recorded on June 30, 2005 as Instrument No.
   2005000510215 of ofFicial records in the Office of the Recorder of Orange County, Ca!"rfomia;

   WHEREAS, the undersigned current Beneficiary, desires to substitute a new Trustee under said Deed of Trust in place of and
   instead of said original Trustee, or Successor Trustee, thereunder in the manner in said Deed of Trust provided;

   NOW THEREFORE, The Bank of New York Mellon FKA The Bank of New York, As Trustee for the Certificateholders of
   CWMBS, Inc., CHL Mortgage Pass-Through Trust 20l}5-HYB5, Mortgage Pass-Through Certificates, Series 2005 HYB5
   hereby substitutes MTC Financiai Inc. dba Trustee Corps, whose address is 17100 Giliette Ave, Irvine, CA 92614, as
   Trustee under said Deed of Trust.

   Dated: ~r ~(~                                 New Penn Financiai; LLC dba Shelipoint Mortgage Servicing as
              ~                                  Servicer for The Bank of New York Mellon FKA The Bank of New
                                                 York,-.-.-As Trustee for the Certificateholders of CWMBS, Inc., CHL
                                               /M~ortgage-P,,ass-Through Trust 2005-HYB5, Mortgage Pass-Through
                                              / Certificates,'Series 2005 HYBS




    A notary public or other offioer completing this certificate verifies only the identity of the individual who signed the document,~
   ~ to which this certificate is attached, and not the truthfulness, accuracy, or vaiidfty of that document
   STATE OF
   COUNTY OF           1' ~~ >'t(,

   On       t f~i            1                           before me,
   Notary Public, personatly appeared                               LL),      si                 J, who'proved to me on the
   basis of satisfactory evidence to be the person whose name Is subscribed to tfie within Enstrument and acknowledged to me
   that heishe executed the same in his/her authorized capacity, and that by hislher signature on the instrument the person, or
   the entity upon beha(f of which the person acted, executed the instrument.

   I certify under PENALTY OF PERJURY under the laws of the State of                        ~~1                                                            that the
   foregoing paragraph is true and correct.

   WTNESS my hand and official seal.                                            ...,~..a...~~
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   Notary~n,a r~                                                         a~                ommission Expires
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Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 67 of 70 Page ID #:72




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Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 68 of 70 Page ID #:73
    `                                                           Recorded in Official Records, Orange County
                                                               Hugh Nguyen, Clerk-Recorder

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    WHEN RECORDED MAIL TO:

    Trustee Corps
    17100 Gillette Ave
    irvine, CA 92614

    APN: 932-582-45                           TS No: CA08003185-15-1                                              TO No: 02-15036669

           NOTICE OF DEFAULT AND ELECTIOhI TO SELL UNDER DEED OF TRUST

        NOTE: TE-iERE IS A SUtiAllr`lARY OF THE [NFORMATiON iN T#-llS DOCUMEPdT ATTAGI<iED


         NOTA: SEAD.tUNTAd.fN RESUAtfEN DE LAINFOR;nIiAC#QN DE ESTE DOCUMENT0
     TALA: MAYROONG BUQD A(O IMPORii9ASYOfi+f SA DOKUMENTONG (T{a NA t+IAKALAKIP
      t<uE3 't: mtm Tt1'EO flAYtA f3P.nf TFifvtH BAYTOM LtfO`C Vir TF£6NG TIN TRONG TAt L1EU NAY
    (The above statement is made pursuant to CA Civil Code Section 2923.3(c)(1). The Summary wilf be provided
             to Trustor(s) andlor vested owner(s) only, pursuant to CA Civil Code Section 2923.3(c)(2).)

                                            T'~ ~ ~~~I-o►[0Ill El q ; 4
    IF YOUR PROPERTY IS tN FORECLOSURE BECAUSE YOU ARE
    BEHIND IN YOUR PAYI1dIENTS, IT MAY BE SOLD WITHOUT ANY
    COURT ACTION, and you may have the legal right to bring your account in good standing by
    paying afl of your past due payments plus permitted costs and expenses within the time permitted by law
    for reinstatement of your account, which is normally five business days prior to the date set for the sale of
    your property. No sale date may be set un61 approximately 90 days from the date this Notice of Default
    may be recorded (which date of recording appears on this notice).

    This amount is $327,060.09 as of December 7, 2015, and will .increase until your account becomes .
    current.

    While your property is in foreclosure, you stiil must pay other obligations (such as insurance and taxes)
    required by your Note and Deed of Trust or Mortgage. If you fai[ to make future payments on the loan,
    pay taxes on the property, provide insurance on the property, or pay other obfigations as required in the
    Note and Deed of Trust or Mortgage, the Beneficiary or Mortgagee may insist that you do so in order to
    reinstate your account in good standing. In addition, the Beneficiary or Mortgagee may require as a
    condition to reinstatement that you provide reliable written evidence that you paid all senior liens, property
    taxes, and hazard insurance premiums.

    Upon your written request, the Beneficiary or Mortgagee wiN give you a written itemization of the entire
    amount you must pay. You may not have to pay the entire unpaid portion of your account, even though
    full payment was demanded, but you must pay all amounts in default at the time payment is made.
    However, you and your Beneficiary or Mortgagee may mutually agree in writing prior to the time the
    Notice of Safe is posted (which may not be earlier than the end of the three-month period stated above)
    to, among other things, (1) provide additional time in which to cure the default by transfer of the property
    or otherwise; or (2) establish a schedule of payments in order to cure your default; or both (1) and (2).

    Foilowing the expiration of the time period referred to in the first paragraph of this notice, unfess the
    obligation being foreclosed upon or a separate written agreement between you and your creditor permits
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           APN: 932-582-45                 TS No: CA08003185-15-1                     TO No: 02-15036669
    a longer period, you have only the legal right to stop the sale of your property by paying the entire amount
    demanded by your creditor.

    To find out the amount you must pay, or to an•ange for payment to stop the foreclosure, or if your property
    is in foreclosure for any other reason, contact: The Bank of New York Mellon FKA The Bank of New
    York as Trustee for the Certificateholders of CWMBS, Inc. CHL Mortgage Pass-Through Trust
    2005-HYB5, Mortgage Pass-Through Certfftcates, Series 2005 HYB5 clo MTC Financial Inc, dba
    Trustee Corps located at 17100 Gillette Ave Irvine, CA 92614 Phone: 949-252-8300 TDD: 866-660-4288
    Ref No: CA08003185-15-1

    If you have any questions, you should contact a lawyer or the govemmental agency which may have
    insured your loan. Notwithstand'ing the fact that your property is in foreclosure, you may ofPer your
    property for sale, provided the sale is concluded prior to the conclusion of the foreclosure.

    REMEIVIBER, YOU 1VIAY LOSE LEGAL RIGHTS tF YOU DO NOT TAKE
    PROIVIPT ACTION.
    NOTiCE IS HEREBY GIVEN THAT: MTC Financial Inc. dba Trustee Corps is the original Trustee, duly
    appointed Substituted Trustee, or acting as Agent for the Trustee or Beneficiary under a Deed of Trust
    dated as oP June 27, 2005, executed by DIANE WEINSHEIMER, AN UNMARRIED WOMAN, as
    Trustor(s), to secure obiigations in favor of MORTGAGE ELECTRONIC REGISTRATION SYSTEMS,
    INC. as nominee for SECURITYNATIONAL MORTGAGE COMPANY, A UTAH CORPORATION, the
    original Beneficiary, recorded June 30, 2005, as Instrument No. 2005000510215, of the official records in
    the Office of the Recorder of Orange County, Califomia, as more fully described on said Deed of Trust
    Including a Note(s) for the sum of $640,000.00 that the benefic'ial interest under said Deed of Trust and
    the obligations secured thereby are presently held by the Beneficiary; that a breach of, and default in, the
    obligations for which said Deed of Trust is security has occurred in that the payment has not been made
    of: THE INSTALLMENT OF PRINCIPAL AND INTEREST WHICH BECAME DUE ON December 1, 2009
    AND ALL SUBSEQUENT INSTALLMENTS OF PkINCIPAL AND INTEREST, ALONG WITH LATE
    CHARGES, PLUS ALL OF THE TERMS AND CONDITiONS AS PER THE DEED OF TRUST,
    PROMISSORY NOTE AND RELATED LOAN DOCUMENTS.

    That by reason thereof, the present Beneficiary under such Deed of Trust, has executed and delivered to
    MTC Financial Inc. dba Trustee Corps, said Trustee, a written Declaration and Demand for Sale, and has- :.
    deposited with said duly appointed Trustee, such Deed of Trust and ail documents evidencing the
    obligations secured thereby, and has declared and does hereby declare all sums secured thereby
    immediately due and payable and has elected and does hereby elect to cause the trust property to be
    sold to satisfy the obligations secured thereby.

    Where required by law, a declaration pursuant to Califnmia Civil Code Section 2923.5(b) or Califomia
    Civil Code Section 2923.55 is attached.

    Dated: December 7, 2015                    MTC Financial Inc. dba Trustee Corps
                                               as uly Appointed Successor Trustee

                                                       ron Ravelo, Author~zed Signatory

            MTC Financial Inc. dba Trustee Corpsr
                                                m)
                                                 a be acting as a debt collector attempting to collect a debt.
                                 Any informationned may be used for that purpose.

    To the extent your original obligation was discharged, or is subject to an automafic stay of bankruptcy under
    Titie 11 of the United States Code, this notice is for comp)Fance andlor informational'• purposes only and does
    not constitute an attempt to collect a debt or to impose personal liability for such obligation. However, a
    secured pan:y retains rights under its security instrument, including the right to foreclose its lien. .
 Case 8:16-cv-00991-DOC-KES Document 1-1 Filed 05/27/16 Page 70 of 70 Page ID #:75
io       K




                                            CaEifornia Dectaration of Comptiance
                                                        (Civ. Code § 2923,55(c))

     Borrower(s):             DIANE WEINSHEiMEIt, AN UNMARRTET3 WOMAN
     i.oan No.:               ~
     Property Address:        5 ENCORB COi3RT
                              iv'EWPORT BEACH, CA 92663
     Trustee's Sale No.:
                              "Olo(' A M0 3!YS— + 5
     The undersigaed declares as follons:

              I am employed by ttie undersigned inortgage ser<icer, and I have reviewed i!s business records for the borrower's loan,
     including tle borrow2r's ioan status and loan information, to substanpate the borrower's present loan default and the rigltt to
     foreclose. Tlae infonnation set forth hen:in is accurate, eomplete and supported by competent and re[iable evidence lliat I have
     reviewed in 1Ite mortgage servicer's business records. Those records reflect one of the following.

             The niortgage servicer contacted tlie borrower to assess the borro4ver's fimancial situation and to explore options for the
             borrower to avoid foreclosure as required by California Civil Code § 2923.55. Thirty days, or more, bave passed since the
             in4xial contact was made.

             TIe mortgage servicer has exercised due diligence to contact the borrower ptusuant to California Civil Code § 2923.55(f) to
             "assess the borrrnver's firrancial situation and explore options for the borrower to avoid foreclosure." Thirty (36) days, or
             trrore, lrave passed since ftse due diligence requirenients were satisfied.

     o       The mortgage servicer was not n:quired to comply wid► Califomia Civil Code § 2923.55 because tIze individual does not neet
             the definitionof a"borrorrer under Cf-61 Code ,s2920.5(c).

             No contact was made with the borrower pursuant to Cali€oinia Civil Code § 2923.55 because the above-referenced loan is not
             secured by a First Gen mortpge or deed of trust tIiat secures a loan described in California Civil Code ys 2924.15(a)


     E.xecuted on U              at tk~u~-4~ ~
                                21~
                                                          Rrew Penn Financial, LLC dlb/a Shellpoiffi Mortgage Sen•icing

                                                          By:

                                                                  Titte;
